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· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·· NORTHERN DISTRICT OF OHIO
· · · · · · · · · · · EASTERN DIVISION
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· TABATHA JACKSON, ET AL.,· · ··)
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· · · · · · · · · · · · · · · ·)
· · · ·· Plaintiffs,· · · · · ··)
· · · · · · · · · · · · · · · ·)
· · · · · · VS.· · · · · · · · ·)· · ··CASE NO. 1:20-CV-2649
· · · · · · · · · · · · · · · · )· · ··JUDGE PAMELA A. BARKER
· CUYAHOGA COUNTY, OHIO, ET AL.,)
· · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · ·)
· · · · Defendants.· · · · · · ·)
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· · · · · · · · · · DEPOSITION OF PHYLLIS DAVIS
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· · · · · · · · · ·· TUESDAY, APRIL 19, 2022
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· · · · · · · · · · · · ·· - - - - -
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· The deposition of PHYLLIS DAVIS, a Plaintiff herein, called
·
· by the Defendants for examination under the Ohio Rules of
·
· Civil Procedure, before me, Mary C. Peck, a Stenographic
·
· Reporter and Notary Public within and for the State of Ohio,
·
· at the Cuyahoga County Prosecutor's Office, The Justice
·
· Center, Courts Tower, 1200 Ontario Street, 8th Floor,
·
· Cleveland, commencing at 9:30 a.m., the day and date above
·
· set forth.
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·1··   · ··APPEARANCES:
 · ·   · ··On behalf of the Plaintiffs:
·2··
 · ·   ·   ··KEVIN M. GROSS, ESQUIRE
·3··   ·   ··Zipkin Whiting Co., L.P.A.
 · ·   ·   ··Zipkin Whiting Building
·4··   ·   ··3637 South Green Road
 · ·   ·   ··Beachwood, Ohio··44122
·5··   ·   ··kgross_zipkinwhiting@gmail.com
 · ·
·6··   · ··On behalf of the Defendants:
 · ·
·7··   ·   ··MICHAEL J. STEWART, ESQUIRE
 · ·   ·   ··JILLIAN ECKART, ESQUIRE
·8··   ·   ··Cuyahoga County Prosecutor's Office
 · ·   ·   ··The Justice Center, Courts Tower
·9··   ·   ··1200 Ontario Street
 · ·   ·   ··8th Floor
10··   ·   ··Cleveland, Ohio··44113
 · ·   ·   ··mstewart@prosecutor.cuyahogacounty.us
11··   ·   ··jeckart@prosecutor.cuyahogacounty.us
 · ·   ·   · · · · · · · · · ·- - - -
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·1·· · · · · · · · · ··PHYLLIS DAVIS
·2··a Plaintiff herein, called by the Defendants for the purpose
·3··of examination, as provided by the Ohio Rules of Civil
·4··Procedure, being by me first duly sworn, as hereinafter
·5··certified, deposed and said as follows:
·6·· · · · · · · · · · · · ·- - - -
·7·· · · · · · · · · · ··EXAMINATION OF
·8·· · · · · · · · · · ··PHYLLIS DAVIS
·9·· · · ··BY MR. STEWART:
10·· ·Q· ··Good morning, Ms. Davis.
11·· ·A· ··Good morning.
12·· ·Q· ··Would you just state and spell your full name for the
13·· · · ··record, please?
14·· ·A· ··Phyllis Denise Davis.··It's spelled P-h-y-l-l-i-s.
15·· · · ··Middle name is Denise, D-e-n-i-s-e.··Last name is
16·· · · ··Davis, D-a-v-i-s.
17·· ·Q· ··And my name is Michael Stewart.··I'm an assistant
18·· · · ··prosecuting attorney for Cuyahoga County.··I
19·· · · ··represent the County and a corrections officer in a
20·· · · ··case you filed against the County regarding the jail.
21·· · · · · ··Do you understand that?
22·· ·A· ··Yes.
23·· ·Q· ··All right.··Have you ever had your deposition taken
24·· · · ··before like this?··Have you ever come to a conference
25·· · · ··room and had the lawyer ask you questions?

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·1·· ·A· ··No.
·2·· ·Q· ··All right.··There's a couple of brief, kind of,
·3·· · · ··ground rules to get through this today.··Mary is here
·4·· · · ··today.··She's writing everything down that we're
·5·· · · ··saying, so it's important that only one of us talks
·6·· · · ··at a time.··I'm going to do my very best to let you
·7·· · · ··finish your answers before I ask the next question,
·8·· · · ··and, you know, I'd ask that you do the same for me
·9·· · · ··and let me finish my question before starting your
10·· · · ··answer.
11·· · · · · ··Sound fair?
12·· ·A· ··Yes.
13·· ·Q· ··All right.··As we sit here today, are you on any kind
14·· · · ··of medication, or anything, that would affect your
15·· · · ··ability to testify?
16·· ·A· ··No.
17·· ·Q· ··All right.··And you understand you're under oath and
18·· · · ··you're obligated to give truthful testimony today,
19·· · · ··correct?
20·· ·A· ··Yes.
21·· ·Q· ··All right.··What did you do to prepare for your
22·· · · ··deposition today?
23·· ·A· ··I just went over the Complaint that I had filed and
24·· · · ··just looked over everything that I had said in the
25·· · · ··Complaint.

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·1·· ·Q· ··Okay.··Did you meet with Mr. Gross?
·2·· ·A· ··I mean, yes.··He's my lawyer.
·3·· ·Q· ··Okay.··Sure.
·4·· · · · · ··When do you think you last met with him?
·5·· ·A· ··I met with him last week.
·6·· ·Q· ··Okay.··Did you talk to Ms. Jackson, Ms. Tabatha
·7·· · · ··Jackson, about her deposition last week?
·8·· ·A· ··No.
·9·· ·Q· ··Okay.··Besides Phyllis Davis, have you ever had any
10·· · · ··other names, like a maiden name, married name,
11·· · · ··something like that?
12·· ·A· ··Yes.
13·· ·Q· ··All right.··And what is that?
14·· ·A· ··Liddell, L-i-d-d-e-l-l.
15·· ·Q· ··Is that a married name, maiden name?··How did the
16·· · · ··change happen?
17·· ·A· ··It's a married name.
18·· ·Q· ··Okay.··When do you think you went by Liddell?
19·· ·A· ··I went by Liddell from 1994 to 1999.
20·· ·Q· ··Okay.··Any other names you've gone by?
21·· ·A· ··No.
22·· ·Q· ··All right.··What is your date of birth?
23·· ·A· ··May 22, 1962.
24·· ·Q· ··All right.··And where do you live?
25·· ·A· ··At 4335 Northfield Road, Apartment 201 in

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·1·· · · ··Warrensville Heights, Ohio.
·2·· ·Q· ··Does anybody else live with you at that address?
·3·· ·A· ··My dog Charles.
·4·· ·Q· ··Your dog Charles.··What kind of dog is Charles?
·5·· ·A· ··He's a miniature poodle.
·6·· ·Q· ··All right.··Have you always lived in the Cleveland
·7·· · · ··area?
·8·· ·A· ··Yes.
·9·· ·Q· ··How far did you go in school?
10·· ·A· ··To tenth grade.
11·· ·Q· ··All right.··So that's high school.
12·· · · · · ··Where did you go to high school?
13·· ·A· ··I went to St. Joseph Franciscan for, like, middle
14·· · · ··school.
15·· ·Q· ··All right.
16·· ·A· ··And then I went to -- I forgot the name of the
17·· · · ··school.··It was on 21st and Payne.··I was pregnant at
18·· · · ··the time I graduated --
19·· ·Q· ··All right.
20·· ·A· ··-- and I never finished, but the last school I went
21·· · · ··to was East High.
22·· ·Q· ··And roughly what kind of time period are we talking
23·· · · ··in years, like '90s, '80s?
24·· ·A· ··I dropped out of school in '78.
25·· ·Q· ··Okay.··Have you ever thought of going back to get

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·1·· · · ··your GED?
·2·· ·A· ··Yes.
·3·· ·Q· ··All right.··And have you done that or --
·4·· ·A· ··I have investigated the Aspire program through the
·5·· · · ··library in my neighborhood --
·6·· ·Q· ··All right.
·7·· ·A· ··-- and they have another class that starts in
·8·· · · ··September.
·9·· ·Q· ··So you're planning on going back in September then?
10·· ·A· ··Yes.
11·· ·Q· ··All right.··Have you ever attended any other career
12·· · · ··programs, community colleges, anything like that?
13·· ·A· ··Yes, I have.
14·· ·Q· ··All right.··Could you walk me through which ones and
15·· · · ··about when?
16·· ·A· ··Oh, gosh.··You have to remember, I'm, like, almost
17·· · · ··60, and that was many years ago.··It was in my 20s.
18·· ·Q· ··Okay.
19·· ·A· ··I went to a teller training program that was here in
20·· · · ··Downtown Cleveland.
21·· ·Q· ··And this would be like to be a bank teller?
22·· ·A· ··Yes.
23·· ·Q· ··Okay.
24·· ·A· ··And I worked for Broadview Savings for a couple of
25·· · · ··months.

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·1·· ·Q· ··Anything else that kind of comes to mind?
·2·· ·A· ··Any kind of training programs?
·3·· ·Q· ··Yes.··Any kind of training courses, anything like
·4·· · · ··that?
·5·· ·A· ··No.
·6·· ·Q· ··What about employment?··Do you work now?
·7·· ·A· ··I am a Dasher in my spare time.··I'm allowed to make
·8·· · · ··a certain amount of money.··I'm on disability, Social
·9·· · · ··Security.
10·· ·Q· ··So Social Security Disability, and are you on SSI, as
11·· · · ··well, or not yet?
12·· ·A· ··Just SSD.
13·· ·Q· ··Okay.··And what condition do you have that qualifies
14·· · · ··you for SSD?
15·· ·A· ··I had a heart attack --
16·· ·Q· ··Okay.
17·· ·A· ··-- in 2012, and I have mental health, anxiety.··I
18·· · · ··have very high anxiety.
19·· ·Q· ··Okay.··If at any point you need to take a break
20·· · · ··today, just let me know, and we'll do that for you,
21·· · · ··okay?
22·· ·A· ··Okay.··Thank you.
23·· ·Q· ··So employment, you said you currently work part time
24·· · · ··as a Dasher.··Does that involve kind of delivering --
25·· ·A· ··Food.

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·1·· ·Q· ··Is it just food or other things?
·2·· ·A· ··Items; grocery items, drug store items,
·3·· · · ··prescriptions.
·4·· ·Q· ··And how long have you been a Dasher?
·5·· ·A· ··Since June of '21.
·6·· ·Q· ··Okay.··Before that, your last job?
·7·· ·A· ··My last job was with Contract Transport Services.
·8·· ·Q· ··Okay.
·9·· ·A· ··And they're at 3310 Perkins Avenue in Cleveland.
10·· ·Q· ··All right.
11·· ·A· ··I was a MRDD driver for them.
12·· ·Q· ··Okay.··MRDD, what does that mean?··If you don't know
13·· · · ··what the acronym is, just tell me what the job is.
14·· ·A· ··I really don't know.··What we used to do was take
15·· · · ··persons with mental disabilities and sometimes
16·· · · ··physical disabilities to a work site.
17·· ·Q· ··All right.
18·· ·A· ··And they would work an eight-hour day, and then we
19·· · · ··would pick them up and take them home.
20·· ·Q· ··Okay.··And during that time period, were you -- you
21·· · · ··said Contract Transport Services?
22·· ·A· ··Yes.
23·· ·Q· ··Okay.··What time period were you working with them?
24·· ·A· ··I worked for several companies, but I was with
25·· · · ··Contract Transport Services for 11 months.

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·1·· ·Q· ··All right.··And what years, months are we talking
·2·· · · ··about?
·3·· ·A· ··2007/2008.
·4·· ·Q· ··All right.··So between 2008 and when you started
·5·· · · ··working as a Dasher, did you have any full- or
·6·· · · ··part-time employment during that time?
·7·· ·A· ··No.
·8·· ·Q· ··All right.··And when you worked for Contract
·9·· · · ··Transport Services, was that a full- or part-time
10·· · · ··position?
11·· ·A· ··Full.
12·· ·Q· ··Okay.··What was your job immediately before working
13·· · · ··for Contract Transport Services?
14·· ·A· ··I worked for Annie Carrie Transportation.
15·· ·Q· ··All right.··Same general duties?
16·· ·A· ··Yes.
17·· ·Q· ··All right.··And during what time period do you think
18·· · · ··you worked for them?
19·· ·A· ··2006/2007.
20·· ·Q· ··All right.··So did you have any other sort of careers
21·· · · ··or job types before then?
22·· ·A· ··Dispatcher.
23·· ·Q· ··All right.··Who were you a dispatcher for?
24·· ·A· ··For Americab and Ace Taxi.
25·· ·Q· ··All right.··So those are taxi cab companies?

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·1·· ·A· ··Yes.
·2·· ·Q· ··When did you work as a dispatcher?
·3·· ·A· ··From '94 to '99.
·4·· ·Q· ··Did you work between '99 and, say, 2006 or 2007?
·5·· ·A· ··As a dispatcher?
·6·· ·Q· ··Well, at all.
·7·· ·A· ··Yes.
·8·· ·Q· ··All right.··I think -- so you worked as a dispatcher
·9·· · · ··for these two cab companies '98 and '99, correct?
10·· ·A· ··No.··'94 through '99.
11·· ·Q· ··'94 through '99, all right.
12·· ·A· ··Mm-hmm.
13·· ·Q· ··Yes.··Sometimes I'm going to get confused and we're
14·· · · ··going to have to work our way through this.
15·· ·A· ··That's okay.
16·· ·Q· ··So '99, you left the cab companies and where did you
17·· · · ··go?
18·· ·A· ··I stayed with Ace Taxi and I started driving for
19·· · · ··them.
20·· ·Q· ··All right.··So you stopped being a dispatcher and you
21·· · · ··drove a cab?
22·· ·A· ··Yes.··For MRDD.
23·· ·Q· ··Okay.
24·· ·A· ··I got the training for that program.··They sent me
25·· · · ··through the training for that program, and I was able

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·1·· · · ··to do that for them.
·2·· ·Q· ··Okay.··So you were driving a cab for -- you know,
·3·· · · ··were your clients kind of exclusively MRDD?
·4·· ·A· ··Yes.
·5·· ·Q· ··And how long did you do that?
·6·· ·A· ··I did that from '99 to 2003.
·7·· ·Q· ··Full or part time?
·8·· ·A· ··Full.
·9·· ·Q· ··Okay.··So I think we've got to 2003, correct?
10·· ·A· ··Mm-hmm.
11·· ·Q· ··All right.··And I think we got a space between 2003
12·· · · ··and 2007 before you went to the first MRDD company.
13·· ·A· ··No.
14·· ·Q· ··No?
15·· ·A· ··Then we go into Love's Transportation.··That was from
16·· · · ··2003 to 2005.
17·· ·Q· ··Okay.··And what did you do for -- you said Lowe's
18·· · · ··Transportation?
19·· ·A· ··Love's.
20·· ·Q· ··Love's, L-o-v-e?
21·· ·A· ··L-o-v-e-s.
22·· ·Q· ··All right.
23·· ·A· ··Same thing.
24·· ·Q· ··And you said that went from 2003 to 2005, correct?
25·· ·A· ··Mm-hmm.

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·1·· ·Q· ··2005, then what do you do?
·2·· ·A· ··Then I'm with Annie Carrie Transportation.
·3·· ·Q· ··And then you went to work for Contract Transport
·4·· · · ··Services, correct?
·5·· ·A· ··Yes.
·6·· ·Q· ··Have I kind of covered your whole work history from
·7·· · · ··the mid '90s through today?
·8·· ·A· ··Yes.
·9·· ·Q· ··All right.··So besides SSD, do you receive any other
10·· · · ··kinds of benefits; SSI, other government benefits, or
11·· · · ··anything like that?
12·· ·A· ··No.
13·· ·Q· ··All right.··So today, you support yourself on SSD and
14·· · · ··part-time work as a Door Dash -- Dasher, you said?
15·· · · ··Is that fair?
16·· ·A· ··Yes.··That's fair.
17·· ·Q· ··Any other sources of income?
18·· ·A· ··I receive $36 child support a month.
19·· ·Q· ··All right.··And so is that for a child that lives in
20·· · · ··your home?
21·· ·A· ··It's for a child that lives in his dad's home.
22·· ·Q· ··Okay.··And how old is -- you said it's a he?
23·· ·A· ··Yes.
24·· ·Q· ··How old is he?
25·· ·A· ··He's 24.

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·1·· ·Q· ··His name, if you would?
·2·· ·A· ··Miguell.
·3·· ·Q· ··Davis?
·4·· ·A· ··Miguell Liddell.
·5·· ·Q· ··Is that Liddell Davis?
·6·· ·A· ··No.··L-i-d-d-e-l-l.
·7·· ·Q· ··One more time, the whole first and last name.
·8·· ·A· ··Miguell, M-i-g-u-e-l-l.
·9·· ·Q· ··All right.
10·· ·A· ··Middle initial E, last name Liddell, L-i-d-d-e-l-l.
11·· ·Q· ··All right.··I think I got you.
12·· ·A· ··Okay.
13·· ·Q· ··So as we sit here today, are you on any prescription
14·· · · ··medications?
15·· ·A· ··Yes.
16·· ·Q· ··All right.··Could you tell me what they are?
17·· ·A· ··I am on Flomax --
18·· ·Q· ··Okay.
19·· ·A· ··-- for 4 milligrams.··I am on Ramipril, 2.5
20·· · · ··milligrams.··I am on Hydrochlorothiazide.
21·· ·Q· ··Hydrochlorothiazide?
22·· ·A· ··It's a water pill.
23·· ·Q· ··All right.
24·· ·A· ··And that is point 25.··It's a little, bitty one.··I
25·· · · ··think it's point 25 milligrams.

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·1·· ·Q· ··All right.
·2·· ·A· ··And then I'm on cholesterol, Metoprolol.··I don't
·3·· · · ··know how much of that.
·4·· ·Q· ··Flomax, Ramipril, the water pill --
·5·· ·A· ··Yes.··HTZ is the short name.
·6·· ·Q· ··All right.··And then Metoprolol.
·7·· ·A· ··And then I take one aspirin.
·8·· ·Q· ··And Metoprolol is for --
·9·· ·A· ··Cholesterol.
10·· ·Q· ··And Flomax is for --
11·· ·A· ··It's for when you get older and you can't really pass
12·· · · ··your water like you used to when you're young.··It
13·· · · ··helps.
14·· ·Q· ··All right.··Ramipril?
15·· ·A· ··I think it's a blood pressure medication.
16·· · · · · ··After I had the heart attack, they put me on most
17·· · · ··of this medication, and I just take it because they
18·· · · ··say I need it.
19·· · · · · ··I'm also on 500 milligrams of Metformin.
20·· ·Q· ··Metformin?
21·· ·A· ··Metformin, yes.
22·· ·Q· ··And what is that for?
23·· ·A· ··That's for diabetes.
24·· ·Q· ··Okay.
25·· ·A· ··Now, that's daytime.

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·1·· ·Q· ··Okay.
·2·· ·A· ··That's what I took this morning.
·3·· ·Q· ··All right.
·4·· ·A· ··Now, at night for my anxiety and, you know, my other
·5·· · · ··stuff, I take 50 milligrams of Doxepin.
·6·· ·Q· ··Okay.
·7·· ·A· ··15 milligrams of Mirtazapine.
·8·· ·Q· ··Okay.
·9·· ·A· ··And 20 milligrams of Melatonin.
10·· ·Q· ··Okay.
11·· ·A· ··And then we do the three-times-a-day thing.
12·· ·Q· ··Okay.··So we covered the stuff you take in the
13·· · · ··morning, the stuff you take at night?
14·· ·A· ··Right.
15·· ·Q· ··And now we're going to go through the things that you
16·· · · ··take three times a day?
17·· ·A· ··Yes.
18·· ·Q· ··Okay.
19·· ·A· ··I take Gabapentin, 600 milligrams three times a day,
20·· · · ··and that's at 7:00, 3:00, and 11:00.
21·· ·Q· ··Okay.
22·· ·A· ··That's it.
23·· ·Q· ··All right.··Are these all prescribed by the same
24·· · · ··doctor?
25·· ·A· ··No.··I have a psychiatrist and I also have a medical

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·1·· · · ··doctor.
·2·· ·Q· ··Okay.··And who's your psychiatrist?
·3·· ·A· ··He name is Amanda Price.
·4·· ·Q· ··Okay.··And where does Ms. Price practice?
·5·· ·A· ··She's at Signature Health.
·6·· ·Q· ··Okay.··And Signature Health, that's not associated
·7·· · · ··with The Clinic or University or MetroHealth in town?
·8·· ·A· ··No.
·9·· ·Q· ··All right.··And which ones of these drugs does she
10·· · · ··prescribe for you?
11·· ·A· ··The Doxepin, the Mirtazapine, and the Gabapentin.
12·· ·Q· ··All right.··So Gabapentin, Mirtazapine, and the
13·· · · ··Doxepin?
14·· ·A· ··Yes.
15·· ·Q· ··Okay.··And then you said you also have a regular
16·· · · ··medical doctor?
17·· ·A· ··Yes.
18·· ·Q· ··All right.··Who's that?
19·· ·A· ··Oh, jeez.··I just got her.··Her name is Andrea
20·· · · ··Fishone, F-i-s-h-o-n-e.
21·· ·Q· ··Okay.··And where does Doctor Fishone practice?
22·· ·A· ··She's at South Pointe.
23·· ·Q· ··Okay.··So that's a Clinic facility, right?
24·· ·A· ··Yes.
25·· ·Q· ··And you said you just got -- I guess just started

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·1·· · · ··going to Doctor Fishone?
·2·· ·A· ··November.
·3·· ·Q· ··November?
·4·· ·A· ··Yes.
·5·· ·Q· ··Okay.
·6·· ·A· ··So I've had two appointments.
·7·· ·Q· ··Okay.··So November of '21 to today?
·8·· ·A· ··Yes.
·9·· ·Q· ··All right.··And did you have a regular primary care
10·· · · ··physician prior to Doctor Fishone?
11·· ·A· ··Yes.··I had Deniece Parkinson from 2012 to 2021.
12·· ·Q· ··So Deniece Parkinson?
13·· ·A· ··Yes.
14·· ·Q· ··Where did Doctor Parkinson practice?
15·· ·A· ··Visiting Physicians Association.
16·· ·Q· ··Okay.··So does that mean she came to your home?
17·· ·A· ··Yes.··She used to come to my house, yes.
18·· ·Q· ··All right.··Do you know if she is associated with The
19·· · · ··Clinic or University or Metro here?
20·· ·A· ··No.
21·· ·Q· ··All right.··If I wanted to make a request for medical
22·· · · ··records from Doctor Parkinson, do you know who I
23·· · · ··should reach out to or what her kind of home base
24·· · · ··would be?
25·· ·A· ··April.··You should reach out to April Knight.

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·1·· ·Q· ··And April Knight at Visiting Physicians?
·2·· ·A· ··Yes.
·3·· ·Q· ··And where --
·4·· ·A· ··It's 216-732-9480.
·5·· ·Q· ··Okay.··So there are some allegations in your
·6·· · · ··Complaint about Xanax, correct?
·7·· ·A· ··(Indicating).
·8·· ·Q· ··Yes?
·9·· ·A· ··Yes, it is.
10·· ·Q· ··You've got to answer verbally so she can take it
11·· · · ··down.
12·· ·A· ··I understand.
13·· ·Q· ··So when do you think the last time you had a Xanax
14·· · · ··prescription was?
15·· ·A· ··October 2019, maybe.
16·· ·Q· ··Okay.··And I see from your medical records that at
17·· · · ··some point you went through some kind of detox
18·· · · ··program at Lutheran Hospital; is that correct?
19·· ·A· ··Yes.··That's correct.
20·· ·Q· ··And does that kind of line up with the last time you
21·· · · ··had a Xanax prescription?
22·· ·A· ··Yes.
23·· ·Q· ··All right.··And you had a Xanax prescription, I
24·· · · ··gather, for eight or nine years at that point,
25·· · · ··correct?

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·1·· ·A· ··About ten.
·2·· ·Q· ··About ten, all right.
·3·· · · · · ··Do you know when you were sort of originally
·4·· · · ··prescribed Xanax?
·5·· ·A· ··Maybe 2001.
·6·· ·Q· ··Okay.··Do you know who prescribed -- who first
·7·· · · ··prescribed it to you?
·8·· ·A· ··Yes.··Elaine -- I'm sorry.··I remember her first name
·9·· · · ··was Elaine.··I cannot think.··She passed on me.··She
10·· · · ··was my first psychiatrist.
11·· ·Q· ··Okay.
12·· ·A· ··She was at Behavioral Health.
13·· · · · · ··You should have a release of information from
14·· · · ··them.
15·· ·Q· ··Okay.··And so it's Elaine at Behavioral Health?
16·· ·A· ··Her name is Elaine.··Jesus.··What is her last name?
17·· · · ··I cannot think of her last name.
18·· ·Q· ··Okay.
19·· ·A· ··But she passed away.··She's no longer there, and I've
20·· · · ··had a series of other doctors since her.
21·· ·Q· ··All right.··Are they all associated with Behavioral
22·· · · ··Health?
23·· ·A· ··No.··I left there when Elaine passed.
24·· ·Q· ··About what year, do you think?
25·· ·A· ··'16, maybe.

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·1·· ·Q· ··Okay.
·2·· ·A· ··She passed in December, and I believe I started going
·3·· · · ··to Behavioral Health.··Doctor Manjula Shah at
·4·· · · ··Behavioral Health on Richmond is where I went after.
·5·· · · ··I can't think of Elaine's last name.
·6·· ·Q· ··That's okay.··If at some point today you remember,
·7·· · · ··just let me know.
·8·· ·A· ··Yes.··But Manjula Shah was my doctor from, like, '17
·9·· · · ··until I went to detox.
10·· ·Q· ··Okay.··So besides Elaine and Doctor Shah, has anybody
11·· · · ··else written you a Xanax prescription?
12·· ·A· ··Doctor Shah had a nurse practitioner that used to
13·· · · ··work with her that I started seeing for a couple of
14·· · · ··months, and I didn't care for her.
15·· ·Q· ··So do you remember her name?
16·· ·A· ··No, I don't.
17·· ·Q· ··Behavioral Health, though?
18·· ·A· ··Yes.
19·· ·Q· ··Okay.
20·· ·A· ··She was in the same office as Doctor Shah.··There's
21·· · · ··only two doctors there, and that's Doctor Shah and
22·· · · ··her nurse.
23·· ·Q· ··Okay.··And what condition or circumstance sort of
24·· · · ··initially led to the Xanax prescription?
25·· ·A· ··I kept having these crying spells from a feeling that

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·1·· · · ··was in my stomach that kind of gave me a nervous
·2·· · · ··breakdown to a point where I couldn't talk.
·3·· ·Q· ··Like, you just --
·4·· ·A· ··I couldn't verbalize.··I would write.··I would write
·5·· · · ··down what I was thinking --
·6·· ·Q· ··Mm-hmm.
·7·· ·A· ··-- but I couldn't verbalize it, so I had sticky notes
·8·· · · ··all over the house.
·9·· ·Q· ··Kind of based on the timeline, it sounds like you at
10·· · · ··least first got the Xanax prescription in 2001.
11·· · · · · ··Is that about the time that you first had these
12·· · · ··crying spells, like inability to talk situations, or
13·· · · ··was it going on for a while before then?
14·· ·A· ··No, no, no.
15·· ·Q· ··All right.
16·· ·A· ··I'm getting my dates mixed up, because when that
17·· · · ··happened, I was living in Mayfield.
18·· ·Q· ··Okay.
19·· ·A· ··And I moved in Mayfield in 2007.
20·· ·Q· ··Okay.
21·· ·A· ··So that's what -- that's when I had the nervous
22·· · · ··breakdown thing.··That's when they started with the
23·· · · ··Xanax, not 2001.
24·· ·Q· ··Okay.··So you don't think you had -- just to be
25·· · · ··clear, you don't think you had a Xanax prescription

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·1·· · · ··between '01 and '07?
·2·· ·A· ··No.
·3·· ·Q· ··All right.
·4·· ·A· ··No.
·5·· ·Q· ··So the timeline is in '07, Doctor Elaine -- we can't
·6·· · · ··remember her last name -- prescribed it for you, but
·7·· · · ··that was the first one you got?
·8·· ·A· ··I'm so busy trying to think of her last name.··And
·9·· · · ··she used to dye her hair these different colors to
10·· · · ··match her clothes.··And she was so awesome.··I cannot
11·· · · ··think of her last name.
12·· ·Q· ··And was the -- did the dose vary over time, or was it
13·· · · ··always the same?
14·· ·A· ··It varied.··It did.
15·· ·Q· ··Just kind of tell me what you remember about how the
16·· · · ··prescribed dose --
17·· ·A· ··Well, my last dosage was 2 milligrams three times a
18·· · · ··day --
19·· ·Q· ··Okay.
20·· ·A· ··-- which was 7:00, 3:00, and 11:00.
21·· ·Q· ··Okay.··So 2 milligrams three times a day.
22·· · · · · ··And so that would have been in 2019, correct?
23·· ·A· ··Yes.
24·· ·Q· ··And how long do you think you were on that specific
25·· · · ··dosage kind of going backward from 2019?

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·1·· ·A· ··For a couple of years.
·2·· ·Q· ··Okay.
·3·· ·A· ··Plus it went from two to three, so I had been on that
·4·· · · ··dosage for a couple of years and it was working.
·5·· ·Q· ··So you went from three to two sometime in the late
·6·· · · ··teens; is that right?
·7·· ·A· ··I don't understand.
·8·· · · · · ··No.··I went from -- I used to take it twice a
·9·· · · ··day, and then she prescribed it three times a day
10·· · · ··because I found myself kind of like having that
11·· · · ··feeling around 2:00 in the afternoon.
12·· ·Q· ··Okay.
13·· ·A· ··So that's when she added the second -- you know, the
14·· · · ··other dose.
15·· ·Q· ··All right.··That's probably where I got confused.··I
16·· · · ··thought you meant milligrams and you meant doses per
17·· · · ··day.
18·· ·A· ··Milligrams is 2 milligrams per dose.
19·· ·Q· ··Right.
20·· ·A· ··Yes.
21·· ·Q· ··And sometime in the late teens, mid to late teens,
22·· · · ··you went from two 2-milligram doses per day to three
23·· · · ··2-milligram doses per day?
24·· ·A· ··Yes.
25·· ·Q· ··Okay.··And the three doses of 2 milligrams, that's

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·1·· · · ··what you were prescribed when you came to the jail in
·2·· · · ··late 2018, correct?
·3·· ·A· ··Yes.
·4·· ·Q· ··All right.
·5·· ·A· ··December 19.
·6·· ·Q· ··Okay.··Do you remember in December -- when you came
·7·· · · ··to -- so December 19, 2018, what pharmacy were you
·8·· · · ··getting your Xanax from?
·9·· ·A· ··Dave's Pharmacy at Severance.
10·· ·Q· ··Okay.··And is this the same pharmacy that you were
11·· · · ··getting all of your medicines at that time?
12·· ·A· ··Yes.
13·· ·Q· ··Okay.··So just for my understanding for the record,
14·· · · ··what does Xanax do for you in terms of its affect?
15·· ·A· ··Well, at first, it had me feeling normal.
16·· ·Q· ··Okay.
17·· ·A· ··I had my -- well, I got custody of my granddaughter
18·· · · ··in 2017.
19·· ·Q· ··All right.
20·· ·A· ··Which I do believe that's when my dose went up.
21·· ·Q· ··Okay.
22·· ·A· ··And what I started noticing was around 2019 is that I
23·· · · ··wasn't paying attention like I thought I should with
24·· · · ··her, and she was a teenager.
25·· ·Q· ··Okay.

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·1·· ·A· ··So that's when I kind of started backing off of the
·2·· · · ··medication a little bit and doing a lot more praying,
·3·· · · ··you know, seeing if that would work instead of just
·4·· · · ··medication.
·5·· ·Q· ··All right.··So maybe I asked this question too
·6·· · · ··generally.
·7·· · · · · ··But does it sort of even out your mood, calm you
·8·· · · ··down when you have anxiety?
·9·· ·A· ··It makes me feel normal.
10·· ·Q· ··All right.
11·· ·A· ··It used to.
12·· ·Q· ··All right.
13·· ·A· ··When I was taking it, I was normal.
14·· ·Q· ··Okay.··Did you always kind of take it according to
15·· · · ··the prescribed dose, or did you vary it sometimes?
16·· ·A· ··Sometimes I varied it.
17·· ·Q· ··Okay.··And why would you do that?
18·· ·A· ··Like if I had something to do that morning, I
19·· · · ··wouldn't take as much.
20·· ·Q· ··Okay.
21·· ·A· ··I would break it in half and take the half.
22·· ·Q· ··Okay.
23·· ·A· ··Like if I had a doctor's appointment and I knew I had
24·· · · ··to leave early, I would not -- yes.
25·· ·Q· ··Okay.··Did you ever kind of crush it up and snort it?

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·1·· ·A· ··Yes.
·2·· ·Q· ··All right.··Kind of regularly or during a particular
·3·· · · ··time period?
·4·· ·A· ··That last year.
·5·· ·Q· ··All right.
·6·· ·A· ··Yeah.··The last year, yes.
·7·· ·Q· ··So we're talking kind of late '18 into '19?
·8·· ·A· ··No.··I would say it started around my birthday in
·9·· · · ··2019.
10·· ·Q· ··All right.··And I've asked you this before, but when
11·· · · ··is your birthday?
12·· ·A· ··May 22nd.
13·· ·Q· ··All right.··And I think we've already discussed this,
14·· · · ··but at some point in -- this was October 2019, you
15·· · · ··went to Lutheran Hospital for, like, a detox from the
16·· · · ··Xanax.··Could you tell me what happened there?
17·· ·A· ··Yes.··Starting June 29th, which was my girlfriend
18·· · · ··Donna's birthday, I passed out in her garage.
19·· ·Q· ··Okay.
20·· ·A· ··So the ambulance came.··They took me to South Pointe.
21·· · · ··They couldn't figure it out.··They let me go home.
22·· ·Q· ··Okay.
23·· ·A· ··And then in, I would say, April, it happened again at
24·· · · ··a baby shower.··I passed out.
25·· ·Q· ··I'm sorry.··We may have gone backward in time.··I

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·1·· · · ··thought you said, like, the garage was June of --
·2·· ·A· ··Yes.··The garage was June.
·3·· ·Q· ··Okay.
·4·· ·A· ··But it happened before in April at the baby shower.
·5·· ·Q· ··Okay.
·6·· ·A· ··And then it happened in the garage in June at my
·7·· · · ··girlfriend's birthday party.
·8·· ·Q· ··Okay.
·9·· ·A· ··So --
10·· ·Q· ··So there's, like, an incident in April and another
11·· · · ··one in June?
12·· ·A· ··Yes.
13·· ·Q· ··And then another one --
14·· ·A· ··Another one in October.
15·· ·Q· ··All right.
16·· ·A· ··I was at my best friend's house and we were having a
17·· · · ··conversation, and I didn't remember any of this, but
18·· · · ··she said right in the middle of the conversation, my
19·· · · ··words just stopped, and she said I had this blank
20·· · · ··look in my eyes.
21·· ·Q· ··Okay.
22·· ·A· ··And she was calling me and she was clapping.··I could
23·· · · ··see her clapping her hands, but I couldn't --
24·· ·Q· ··You couldn't hear?
25·· ·A· ··I couldn't respond.

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·1·· ·Q· ··Okay.
·2·· ·A· ··And she called the ambulance.··They took me to
·3·· · · ··Cleveland Clinic Main Campus, because she lived on
·4·· · · ··Superior.
·5·· ·Q· ··All right.
·6·· ·A· ··And they did blood, everything.
·7·· · · · · ··They came back and they said, Ms. Davis, when is
·8·· · · ··the last time you had your Xanax, and I counted.··I
·9·· · · ··said, About eight days ago.··And they say, Well, you
10·· · · ··can't do that.··I said, Well, I didn't have a clue.
11·· · · ··I said that I have been trying to wean myself off of
12·· · · ··it because I have my granddaughter, and she's
13·· · · ··sneaking people in the house at night and I felt like
14·· · · ··it's the medication.
15·· ·Q· ··How old's your granddaughter?
16·· ·A· ··At that time?
17·· ·Q· ··Sure.
18·· ·A· ··She was 16.
19·· ·Q· ··Okay.
20·· ·A· ··So they said, Well, you can't do that.··Would you
21·· · · ··like to stop taking the Xanax?··And I said, Yes,
22·· · · ··please.
23·· ·Q· ··Okay.
24·· ·A· ··They said, Well, we're going to have to send you to
25·· · · ··detox, and you're going to be there about a week.

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·1·· · · ··But I had no idea it was going to be like that.
·2·· ·Q· ··You had no idea that you'd have to go to detox or
·3·· · · ··that --
·4·· ·A· ··I didn't know the withdrawal from it was going to be
·5·· · · ··as bad as it was.
·6·· ·Q· ··Okay.··You know, I guess we don't have to belabor the
·7·· · · ··details, but the withdrawal was difficult when you
·8·· · · ··were at Lutheran in 2019, right?
·9·· ·A· ··Yes.
10·· ·Q· ··Okay.··And then you said, like, this final incident
11·· · · ··in October, you were with a friend who kind of
12·· · · ··witnessed it.
13·· · · · · ··Do you remember her name?
14·· ·A· ··My best friend, Lynda Stewart.
15·· ·Q· ··And do you kind of have an address or a street that
16·· · · ··she might live on?
17·· ·A· ··Lynda passed September 24, 2018.
18·· ·Q· ··Oh, I'm sorry about that.
19·· ·A· ··'19.
20·· ·Q· ··'19?
21·· ·A· ··Yes.··'19.
22·· ·Q· ··So that would be kind of shortly after this?
23·· ·A· ··Yes.
24·· ·Q· ··I guess, concerning what we're here about today, you
25·· · · ··first came to the jail in December of 2018; is that

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·1·· · · ··correct?
·2·· ·A· ··That is correct.
·3·· ·Q· ··It looks like you came to the downtown jail
·4·· · · ··December 15th of '18.
·5·· · · · · ··Does that sound right?
·6·· ·A· ··No.··It does not sound right.
·7·· ·Q· ··Okay.··Kind of walk me through.··When do you think
·8·· · · ··you first --
·9·· ·A· ··To my recollection --
10·· ·Q· ··Okay.
11·· ·A· ··-- I was delivering Christmas baskets in Warrensville
12·· · · ··near my home when I got a phone call from Euclid
13·· · · ··Police Station that my granddaughter had been in a
14·· · · ··physical altercation with another teenager.
15·· ·Q· ··Okay.
16·· ·A· ··I was to pick her up.
17·· ·Q· ··Okay.··And where were you going to go pick her up?
18·· ·A· ··Euclid Police Station.
19·· ·Q· ··All right.··And did you go to the Euclid Police
20·· · · ··Station?
21·· ·A· ··Yes, I did.
22·· ·Q· ··All right.··And what happened there?
23·· ·A· ··When I pulled in the parking lot, three Euclid police
24·· · · ··officers came out with their hands on their weapons
25·· · · ··and met me at my car.

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·1·· ·Q· ··Okay.
·2·· ·A· ··They asked me to get out of the car.··I'm sorry.
·3·· ·Q· ··You can go ahead.
·4·· ·A· ··They asked me to get out of the car, and they
·5·· · · ··proceeded to throw me on my hood and dump my purse
·6·· · · ··out on top of me.
·7·· ·Q· ··Okay.··So it was on the hood of your car?
·8·· ·A· ··Yes.
·9·· ·Q· ··All right.··What happened next?
10·· ·A· ··I was then -- well, they had some fun for a little
11·· · · ··while, because I had a Tramadol in my purse.
12·· ·Q· ··Okay.
13·· ·A· ··And they asked me how many more of those did I have
14·· · · ··and was I going to sell those.
15·· · · · · ··Then they took me into the station, into this
16·· · · ··little office.··There was a female police officer
17·· · · ··there.
18·· ·Q· ··Euclid police officer?
19·· ·A· ··Yes.
20·· ·Q· ··Okay.
21·· ·A· ··She asked me the questions about my daily life and my
22·· · · ··medication, and I told her I was on Xanax three times
23·· · · ··a day and my next dose was due in 45 minutes, because
24·· · · ··it was like quarter after two, and she said, oh, we
25·· · · ··got you.··We'll take care of it when you get

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·1·· · · ··downtown, because they're coming to pick you up.
·2·· ·Q· ··Okay.
·3·· ·A· ··So they held me until Cleveland came to pick me up.
·4·· ·Q· ··Okay.··So you said to -- let's unpack this a little.
·5·· · · · · ··This thing about your granddaughter being in an
·6·· · · ··altercation, was that kind of a ruse to get you to
·7·· · · ··come to the police station, or did that really
·8·· · · ··happen?
·9·· ·A· ··It really happened.
10·· ·Q· ··Okay.
11·· ·A· ··But it just killed two birds with one stone.
12·· ·Q· ··Okay.··So did they arrest you on some kind of
13·· · · ··warrant, or did it have something to do with what was
14·· · · ··in your purse?
15·· ·A· ··No.··It was a warrant.
16·· ·Q· ··It sounds like it was a Cleveland warrant, correct?
17·· ·A· ··Yes.
18·· ·Q· ··And what was -- I mean, do you remember what the
19·· · · ··warrant was about or what it was for?
20·· ·A· ··Of course.
21·· ·Q· ··Okay.
22·· ·A· ··I've --
23·· ·Q· ··All right.
24·· ·A· ··That was like the worst time of my life.
25·· ·Q· ··Sure.

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·1·· ·A· ··I was -- I had a warrant for drug trafficking.
·2·· ·Q· ··Okay.··And that had something to do with an
·3·· · · ··allegation that you were selling some kind of
·4·· · · ··prescription medicine to somebody.··Is that --
·5·· ·A· ··That's correct.
·6·· ·Q· ··Okay.··And do you remember what prescription
·7·· · · ··medication you were accused of selling?
·8·· ·A· ··Yes.
·9·· ·Q· ··And what was that?
10·· ·A· ··Percocet.
11·· ·Q· ··Okay.··Is that something that around that time you
12·· · · ··did on a regular basis of selling your prescription
13·· · · ··medicines?
14·· ·A· ··No, sir.
15·· ·Q· ··Okay.
16·· ·A· ··This was an incident that I truly am sorry that
17·· · · ··happened.
18·· ·Q· ··Okay.
19·· ·A· ··I was between a rock and a hard place.
20·· ·Q· ··Mm-hmm.
21·· ·A· ··I needed motor work on my car, and I need my car.
22·· · · ··And somebody said to me, You know, you can sell those
23·· · · ··pills.··And I said, Really?··And yeah, got myself in
24·· · · ··trouble.
25·· ·Q· ··Okay.··So did the trouble you got yourself in

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·1·· · · ··involve -- why don't you tell me?
·2·· ·A· ··Well, would you like to know what happened?
·3·· ·Q· ··Sure.
·4·· ·A· ··Is that what you what?··Is that what you're asking
·5·· · · ··me?
·6·· ·Q· ··Yes.
·7·· ·A· ··Okay.··What happened was it was a girlfriend of my
·8·· · · ··daughter's.
·9·· ·Q· ··Okay.
10·· · · · · · · · · · ·MR. GROSS:··Before you go on, is
11·· · · · · · · ··this all related to the plea you took in
12·· · · · · · · ··connection with the drug trafficking
13·· · · · · · · ··case?
14·· · · · · · · · · · ·THE WITNESS:··I don't know.··He's
15·· · · · · · · ··asking me the questions.
16·· · · · · · · · · · ·MR. GROSS:··Mike, is that what
17·· · · · · · · ··you're asking the question about?
18·· · · · · · · · · · ·MR. STEWART:··Well, I'm asking about
19·· · · · · · · ··the circumstances that led to the
20·· · · · · · · ··warrant.
21·· · · · · · · · · · ·MR. GROSS:··So I have some potential
22·· · · · · · · ··issues here regarding, you know, the
23·· · · · · · · ··right not to incriminate yourself.
24·· · · · · · · · · · ·If this is conduct that was all
25·· · · · · · · ··involved in the indictment and the

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·1·· · · · · · · ··drug trafficking and what led to a
·2·· · · · · · · ··plea, I think she can testify about
·3·· · · · · · · ··it.··But if it's not, then she can't.
·4·· · · · · · · · · · ·MR. STEWART:··Okay.··So I've not
·5·· · · · · · · ··read the criminal file.··I'm not familiar
·6·· · · · · · · ··with what the plea was about, so that's
·7·· · · · · · · ··kind of why I'm asking the questions
·8·· · · · · · · ··today.
·9·· · · · · · · · · · ·If she wants to invoke her Fifth
10·· · · · · · · ··Amendment right, then she obviously
11·· · · · · · · ··has the right to do that.
12·· · · · · · · · · · ·Do you want to kind of discuss
13·· · · · · · · ··that with her at this point or --
14·· · · · · · · · · · ·MR. GROSS:··Yes.
15·· · · · · · · · · · ·MR. STEWART:··Okay.··We will step
16·· · · · · · · ··out and take a short break.
17·· · · · · · · · · · · · ·- - - -
18·· · · · · · ··(Thereupon, a recess was had.)
19·· · · · · · · · · · · · ·- - - -
20·· ·Q· ··Ms. Davis, before we took a break, we were discussing
21·· · · ··the incident that led to the warrant that you were
22·· · · ··picked up on in December of 2018, and I want to try
23·· · · ··and wrap this up as quickly as I can.
24·· · · · · ··That incident involved an allegation that you
25·· · · ··were selling your prescription medication to

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·1·· · · ··somebody, correct?
·2·· ·A· ··That's correct.
·3·· ·Q· ··All right.··And what prescription medication were you
·4·· · · ··accused of selling?
·5·· ·A· ··Percocet.
·6·· ·Q· ··Okay.··And when did that incident occur, the incident
·7·· · · ··that led to the warrant?
·8·· ·A· ··I believe it was in September of '18.
·9·· ·Q· ··All right.··Now, have you ever sold pills from your
10·· · · ··Xanax prescription?
11·· ·A· ··No.
12·· ·Q· ··How about your Abilify prescription?
13·· ·A· ··No.
14·· ·Q· ··Okay.··So kind of going back to, kind of, an earlier
15·· · · ··line of questioning, it sounds like you were picked
16·· · · ··up in the parking lot of the Euclid Police Department
17·· · · ··in December of 2018, correct?
18·· ·A· ··That is correct.
19·· ·Q· ··Do you remember the date?
20·· ·A· ··I believe it was December 18th.··I believe.
21·· ·Q· ··Okay.
22·· ·A· ··Because I believe it was a Saturday.
23·· ·Q· ··Okay.··And about what time of day?
24·· ·A· ··Around 2:00 p.m.
25·· ·Q· ··Okay.··And then you said initially you were arrested

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·1·· · · ··by the Euclid police, correct?
·2·· ·A· ··Yes.
·3·· ·Q· ··All right.··And somewhere in the station, you spoke
·4·· · · ··to a female Euclid police officer about your Xanax
·5·· · · ··prescription, correct?
·6·· ·A· ··Yes.
·7·· ·Q· ··All right.··And tell me -- you don't know the name of
·8·· · · ··that officer, do you?
·9·· ·A· ··No, sir.
10·· ·Q· ··All right.··General physical description?
11·· ·A· ··Yes.··She was approximately maybe 5'6", 5'7".
12·· ·Q· ··Okay.
13·· ·A· ··I would say maybe 190, 200 pounds.
14·· ·Q· ··Okay.
15·· ·A· ··African American.
16·· ·Q· ··Okay.··I'm going to mark what's Defendants' Exhibit
17·· · · ··6, which are some questions we sent to you earlier in
18·· · · ··the case.
19·· · · · · · · · · · · · ·- - - -
20···(Thereupon, Defendants' Deposition Exhibit 6 was
21·· · ··marked for the purpose of identification.)
22·· · · · · · · · · · · · ·- - - -
23·· ·Q· ··First of all, Ms. Jackson, have you seen these
24·· · · ··before?
25·· ·A· ··I'm Ms. Davis.

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·1·· ·Q· ··You are Ms. Davis.··Ms. Jackson and I spent a day
·2·· · · ··together last week.
·3·· ·A· ··Okay.
·4·· ·Q· ··Ms. Davis, have you seen these before?
·5·· ·A· ··Yes.
·6·· ·Q· ··Okay.··And if you turn to -- and that's your
·7·· · · ··signature on the last page?
·8·· ·A· ··That is correct.
·9·· ·Q· ··All right.··So if you look at Interrogatory Number
10·· · · ··9 -- are you there with me?
11·· ·A· ··Mm-hmm.
12·· ·Q· ··All right.··I ask, you know, identify the individuals
13·· · · ··at intake that you advised that you were prescribed
14·· · · ··Xanax, et cetera, and then I asked for a physical
15·· · · ··description.
16·· · · · · ··And then you answered, female police officer, 40,
17·· · · ··200 pounds, and then I told her I was on 6 milligrams
18·· · · ··of Xanax daily and Abilify, 2 milligrams daily.
19·· · · · · ··Is that the person we were just talking about?
20·· ·A· ··Same person.
21·· ·Q· ··Okay.··Thank you much.
22·· · · · · ··So you advised this female police officer about
23·· · · ··your Xanax and Abilify prescriptions, correct?
24·· ·A· ··That is correct.
25·· ·Q· ··And what, if anything, did she say in response?··Or

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·1·· · · ··kind of walk me through that conversation.
·2·· ·A· ··Okay.··Well, by now I'm in a panic because they're
·3·· · · ··getting ready to lock me up.
·4·· ·Q· ··Okay.
·5·· ·A· ··My daughter is with me.··She doesn't have any
·6·· · · ··driver's license.··I'm worried about my car.
·7·· ·Q· ··Mm-hmm.
·8·· ·A· ··I left my medication at home.··It's not in my purse.
·9·· ·Q· ··Okay.
10·· ·A· ··It's quarter after 2, and at 3:00, I'm going to need
11·· · · ··my medication.
12·· ·Q· ··All right.
13·· ·A· ··So I'm flustered.··I am crying.··I'm screaming.··I'm
14·· · · ··telling her that I'm on this medication, and she
15·· · · ··says, Well, don't worry about it now.··You shouldn't
16·· · · ··have did what you did and you wouldn't have that
17·· · · ··problem, but what I can tell you is that we'll
18·· · · ··medicate you at the County.
19·· ·Q· ··Okay.··And so you said your next Xanax dose was
20·· · · ··supposed to be at 3:00, right?
21·· ·A· ··Mm-hmm.
22·· ·Q· ··Like, what were you concerned would happen if you
23·· · · ··didn't get your Xanax dose?
24·· ·A· ··What always happens within two hours if I don't get
25·· · · ··it.

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·1·· ·Q· ··All right.
·2·· ·A· ··I get that feeling in my stomach where I can't figure
·3·· · · ··out what it is, and then I'm in tears.
·4·· ·Q· ··Okay.··Do you have, like, some kind of seizure?
·5·· ·A· ··No.
·6·· ·Q· ··No, all right.
·7·· · · · · ··And prior to this point, had you ever had any
·8·· · · ··seizures as a result of missing a Xanax dose or Xanax
·9·· · · ··withdrawal, or something like that?
10·· ·A· ··No.
11·· ·Q· ··All right.··And then you're speaking to this female
12·· · · ··police officer, and do you get booked into the Euclid
13·· · · ··jail?··Do you remember?
14·· ·A· ··No.
15·· ·Q· ··You don't remember or you weren't?
16·· ·A· ··I don't remember them booking me there.··They just
17·· · · ··held me until Cleveland came.
18·· ·Q· ··And at some point, you said, like, the Cleveland
19·· · · ··Police Department came and picked you up on this
20·· · · ··warrant, correct?
21·· ·A· ··Yes.
22·· ·Q· ··All right.··Can you tell me anything about the
23·· · · ··officers from the Cleveland Police Department who
24·· · · ··came and picked you up, like names?··If you can't
25·· · · ··tell me names, like just description.

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·1·· ·A· ··No.··Two men.
·2·· ·Q· ··All right.
·3·· ·A· ··They put me in shackles and handcuffs and put me in a
·4·· · · ··van, and I came in through the underground of this
·5·· · · ··place.
·6·· ·Q· ··When you say this place, you mean the downtown jail,
·7·· · · ··correct?
·8·· ·A· ··Yes.
·9·· ·Q· ··All right.··And at that point, were you -- I gather
10·· · · ··you were booked into the jail, correct?
11·· ·A· ··Yes.··I was given clothes and answered questions.··I
12·· · · ··did fingerprints and pictures.
13·· ·Q· ··Do you remember if you went through any kind of
14·· · · ··medical screening during that process?
15·· ·A· ··Like a checkup?
16·· ·Q· ··Well, or did people ask you questions about your
17·· · · ··health, for example, or your psychological state?··Do
18·· · · ··you remember anything like that?
19·· ·A· ··I remember answering questions, whether it was a
20·· · · ··medical screening --
21·· ·Q· ··Okay.
22·· ·A· ··I couldn't say if it was a medical screening, because
23·· · · ··I don't know.
24·· ·Q· ··Do you remember who was asking you the questions?
25·· · · ··Was it a uniformed law enforcement person?

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·1·· ·A· ··Of course.
·2·· ·Q· ··Okay.··What about a nurse in scrubs?
·3·· ·A· ··No.
·4·· ·Q· ··No, okay.
·5·· · · · · ··Do you think in that process the issue of your
·6·· · · ··prescription medication came up again?
·7·· ·A· ··Yes.
·8·· ·Q· ··All right.··Tell me how.
·9·· ·A· ··I mentioned it immediately when I got here --
10·· ·Q· ··Okay.
11·· ·A· ··-- because it was like quarter to 4 --
12·· ·Q· ··Okay.
13·· ·A· ··-- and I was freaking out.
14·· ·Q· ··All right.··And you said it was the uniformed person
15·· · · ··who was booking you into the jail, right?
16·· ·A· ··Yes.
17·· ·Q· ··All right.··Any kind of description you can give me
18·· · · ··of that person?
19·· ·A· ··No.··I just know it was three people.··It was three
20·· · · ··people present, and everybody was having fun except
21·· · · ··for me that was freaking out.
22·· ·Q· ··Okay.··The three people present, were they men,
23·· · · ··women?
24·· ·A· ··Yes.
25·· ·Q· ··They were all men?

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·1·· ·A· ··I think it was a female.
·2·· ·Q· ··Okay.
·3·· ·A· ··Two males and a female.
·4·· ·Q· ··Okay.
·5·· ·A· ··I just remember them all joking and having fun.
·6·· ·Q· ··Okay.··So after the booking process, where were you
·7·· · · ··first housed?··Where did they take you?
·8·· ·A· ··Medical pod --
·9·· ·Q· ··Okay.
10·· ·A· ··-- they said.
11·· ·Q· ··Okay.··And that was on the sixth floor at that time?
12·· ·A· ··Yes.
13·· ·Q· ··Okay.··And what happened?··I mean, when you first get
14·· · · ··there, any more questions about medical conditions,
15·· · · ··anything like that?
16·· ·A· ··No.··I was told to take the cot and have a seat and
17·· · · ··don't move until I was told.
18·· ·Q· ··Okay.··So is this like the actual pod where there are
19·· · · ··cells, or is this the dispensary?
20·· ·A· ··Yes.
21·· ·Q· ··Okay.··As you sit here today, any idea why you were
22·· · · ··assigned to the medical pod at that time?
23·· ·A· ··I thought it was because I was on medication and my
24·· · · ··age.
25·· ·Q· ··Okay.··And based on what you saw, who made that

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·1·· · · ··decision?
·2·· · · · · · · · · · ·MR. GROSS:··Objection.
·3·· · · · · · · · · · ·Go ahead.
·4·· ·Q· ··I mean, could you tell?
·5·· ·A· ··I have no idea who made that decision.
·6·· ·Q· ··Okay.··But you think -- but you spoke to these three
·7·· · · ··people, two male, one female, correct?
·8·· ·A· ··Yes.
·9·· ·Q· ··Did you speak to anybody else about, you know,
10·· · · ··booking-type issues before you got to the medical
11·· · · ··pod?
12·· ·A· ··No.
13·· ·Q· ··All right.··And then in the medical pod at some
14·· · · ··point, did you see a nurse?
15·· ·A· ··No.
16·· ·Q· ··All right.··First night in the jail, where did you
17·· · · ··sleep?
18·· ·A· ··On a two-inch mat that was about two inches thick.
19·· · · ··It was about this wide.··If I had been any bigger --
20·· ·Q· ··Okay.
21·· ·A· ··And I slept on the floor, and all the lights are on
22·· · · ··in the pod, and there's, like, about 12 mats all the
23·· · · ··way around, and then --
24·· ·Q· ··So there -- I'm sorry to interrupt.
25·· ·A· ··I apologize.

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·1·· ·Q· ··I'm interrupting you, so I'm apologizing, as well.
·2·· · · · · ··Mats are on the floor in the pod, you're saying?
·3·· ·A· ··Yes.
·4·· ·Q· ··And is this the medical pod or is this a different
·5·· · · ··pod?
·6·· ·A· ··That's what they say it is.
·7·· ·Q· ··Okay.··So the first night, you slept on a mat on the
·8·· · · ··floor of the medical pod, correct?
·9·· ·A· ··Every night.
10·· ·Q· ··All right.··Well, do you think -- were you ever moved
11·· · · ··to a general population pod?
12·· ·A· ··Once.
13·· ·Q· ··Okay.··And was that, what, the first, second, third
14·· · · ··night?··Any idea you can give me about how long were
15·· · · ··you in the jail before you went to the general
16·· · · ··population pod?
17·· ·A· ··I can tell you it was the third time I passed out.
18·· ·Q· ··Okay.··Did you remember which general population pod
19·· · · ··that was?
20·· ·A· ··I remember Ms. Jackson.··That's where I met her.
21·· ·Q· ··Okay.
22·· ·A· ··And then there was an officer by the name of Officer
23·· · · ··Dye, and then I remember a lady named Ms. Jackson.
24·· ·Q· ··And you mean a CO named Jackson?
25·· ·A· ··A CO, yes.

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·1·· ·Q· ··So we have Ms. Jackson your cellmate and Ms. Jackson
·2·· · · ··the CO?
·3·· ·A· ··Yes.
·4·· ·Q· ··Okay.··Before you got to that pod, had you ever met
·5·· · · ··Ms. Tabatha Jackson before?
·6·· ·A· ··No.
·7·· ·Q· ··Okay.··Was Ms. Tabatha Jackson kind of assigned to be
·8·· · · ··your cellmate then?
·9·· ·A· ··Yes.
10·· ·Q· ··Any idea how many nights you spent in this cell with
11·· · · ··Ms. Jackson?
12·· ·A· ··One.
13·· ·Q· ··All right.··Did you have any other cellmates when you
14·· · · ··were in the general population pod?
15·· ·A· ··I never got to be in a cell but that one time.
16·· ·Q· ··All right.··How many nights total do you think you
17·· · · ··spent in the general population pod during your time
18·· · · ··at the jail?
19·· ·A· ··One.
20·· ·Q· ··And that night, you were on a mat on the floor?
21·· ·A· ··Yes.
22·· ·Q· ··Now, as I understand this, at some point, you started
23·· · · ··to have some medical problems, some seizures, while
24·· · · ··you were in the jail, correct?
25·· ·A· ··Yes.

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·1·· ·Q· ··Okay.··Like, how long do you think you were in the
·2·· · · ··jail before, kind of, the first incident occurred?
·3·· ·A· ··I believe it was that same night.
·4·· ·Q· ··Okay.··So the first night in, right?
·5·· ·A· ··Yes.
·6·· ·Q· ··Okay.··You filed a complaint, and you're describing
·7·· · · ··these as seizures, correct?
·8·· · · · · ··Tell me what these were like.
·9·· ·A· ··At the time, I didn't know what they were.
10·· ·Q· ··Okay.
11·· ·A· ··I would get a really spacy feeling in my head.
12·· ·Q· ··Okay.
13·· ·A· ··So about the third time that it happened -- because I
14·· · · ··was falling from five foot seven, which is how tall I
15·· · · ··am, on a concrete floor.
16·· ·Q· ··Okay.
17·· ·A· ··So I would feel it after I woke up that I hit my head
18·· · · ··real hard.··So what I started doing was when I felt
19·· · · ··it coming, I would stoop down so I wouldn't have that
20·· · · ··far to fall.
21·· ·Q· ··Okay.
22·· ·A· ··I didn't know they were seizures until, like, the
23·· · · ··fourth one when I woke up in a restraint chair --
24·· ·Q· ··Okay.
25·· ·A· ··-- in the dispensary.

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·1·· ·Q· ··So when you would have these, it sounds like you
·2·· · · ··would kind of lose consciousness or not be able to
·3·· · · ··remember what was going on?
·4·· ·A· ··I would lose consciousness.
·5·· ·Q· ··Did you have -- you know, if you don't remember, just
·6·· · · ··let me know, but did you have kind of jerking
·7·· · · ··movements with your muscles?
·8·· ·A· ··What I was told by the corporal that was assigned to
·9·· · · ··our unit was that when he came and tried to put the
10·· · · ··handcuffs on me while I was having the seizure, he
11·· · · ··said if he hadn't took the handcuffs off, I would
12·· · · ··have broke my teeth.
13·· · · · · ··When I woke up, I had a bite mark on my arm from
14·· · · ··where he had tried to restrain me with the cuffs.
15·· ·Q· ··Okay.··Did he say you were trying to bite the cuffs
16·· · · ··yourself.
17·· ·A· ··He said I was trying to bite them off of my arm.
18·· ·Q· ··All right.··And this was a corporal?··Do you know --
19·· ·A· ··I do not know his name, but he was the corporal on
20·· · · ··duty for our unit.
21·· ·Q· ··All right.
22·· ·A· ··And I could still hear those boots coming.··I don't
23·· · · ··never want to be here ever, and I will make sure that
24·· · · ··I'll never be here.
25·· ·Q· ··Okay.··Any kind of description you can give me of the

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·1·· · · ··corporal, the corporal we just talked about?
·2·· ·A· ··Dark hair, Caucasian, not very big.
·3·· ·Q· ··Not tall, not --
·4·· ·A· ··Not tall, not big.
·5·· ·Q· ··Okay.··So I'm going to kind of go through sort of a
·6·· · · ··list of symptoms related to a seizure, and let me
·7·· · · ··know if you remember experiencing these, yes or no,
·8·· · · ··or if you just don't remember one way or the other.
·9·· · · · · ··Fair?
10·· ·A· ··Mm-hmm.
11·· ·Q· ··Kind of weakness in your muscles?
12·· ·A· ··Don't know this.
13·· ·Q· ··Twitching?
14·· ·A· ··Don't know this.
15·· ·Q· ··All right.··Muscle tenseness?
16·· ·A· ··Don't know this.
17·· ·Q· ··Sensations of hot or cold?
18·· ·A· ··I don't know that.
19·· ·Q· ··Just an inability to move?
20·· ·A· ··Now, that happens.
21·· ·Q· ··All right.··Goose bumps?
22·· ·A· ··Don't know this.
23·· ·Q· ··Racing heart?
24·· ·A· ··Don't know this.
25·· ·Q· ··Staring spells, just kind of looking out into space?

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·1·· ·A· ··That happens.
·2·· ·Q· ··All right.··And you indicated that you did lose
·3·· · · ··consciousness, correct?
·4·· ·A· ··Every time.
·5·· ·Q· ··All right.··So this may be a difficult question if
·6·· · · ··you kind of lost consciousness, but do you
·7·· · · ··remember -- now, we talked about this corporal,
·8·· · · ··correct?
·9·· ·A· ··Mm-hmm.
10·· ·Q· ··Do you remember any of the other uniformed COs that
11·· · · ··were kind of involved in responding to or dealing
12·· · · ··with your seizures?
13·· ·A· ··I was always out.
14·· ·Q· ··Okay.
15·· ·A· ··I couldn't tell you who was helping or not helping.
16·· ·Q· ··Okay.
17·· ·A· ··What I do remember is them taking me to the
18·· · · ··psychiatrist, and she was a lady, and she was not in
19·· · · ··uniform, and she had on a black dress and she was
20·· · · ··Caucasian.··And she had brownish hair.··They took me
21·· · · ··to her because they thought I was crazy.
22·· ·Q· ··Okay.
23·· ·A· ··They thought I was passing out on purpose.··And I
24·· · · ··didn't know why I was passing out, so I was open to
25·· · · ··talking to whoever.

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·1·· ·Q· ··And psychiatrist, white lady, brownish hair in the
·2·· · · ··jail, correct?
·3·· ·A· ··Yes.
·4·· ·Q· ··And you saw her in, I guess, the medical dispensary?
·5·· ·A· ··No.··She was not in the medical dispensary.
·6·· ·Q· ··Okay.··Where was she?
·7·· ·A· ··She had an office.
·8·· ·Q· ··Okay.··Do you remember what floor the office was on?
·9·· ·A· ··No.
10·· ·Q· ··Okay.
11·· ·A· ··I was always told to stand up against the wall and
12·· · · ··face the wall, so I don't know what floor I went to.
13·· ·Q· ··All right.··So we've got this corporal.··We've got
14·· · · ··the psychiatrist.
15·· · · · · ··Anybody else in the jail that comes to mind as
16·· · · ··being involved in sort of responding to, dealing
17·· · · ··with, any of the seizure issue?
18·· ·A· ··Tabatha, I remember telling her about the issues I
19·· · · ··was having, and we were just talking, and I got that
20·· · · ··feeling again, and I told her -- I said, I'm getting
21·· · · ··ready to pass out, and she said, as soon as I said
22·· · · ··that, I was gone.
23·· ·Q· ··Okay.··So this is Ms. Jackson, correct?
24·· ·A· ··Yes.
25·· ·Q· ··All right.··Anybody else that comes to mind?

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·1·· ·A· ··I remember Officer Dye.··I remember his face, but I
·2·· · · ··don't remember what he was saying.··I don't remember
·3·· · · ··what happened, but I can remember his face.
·4·· ·Q· ··Do you remember Officer Dye's first name?··If not,
·5·· · · ··that's fine.
·6·· ·A· ··No.
·7·· ·Q· ··All right.··Any other COs, nurses, doctors from the
·8·· · · ··jail that kind of come to mind?
·9·· ·A· ··I remember the nurses.··I woke up in front of -- when
10·· · · ··I was in the restraint chair, I remember her face,
11·· · · ··but I don't remember her name.
12·· ·Q· ··Okay.··And so sometimes when you'd have these
13·· · · ··seizures, they'd take you to medical, right?
14·· ·A· ··Yes.
15·· ·Q· ··Okay.··And at some point, you ended up going to
16·· · · ··MetroHealth; is that right?
17·· ·A· ··Yes.
18·· ·Q· ··And it looks from, like, kind of notes and records
19·· · · ··that you went two different times.
20·· · · · · ··Is that consistent with your memory?
21·· ·A· ··No.
22·· ·Q· ··No, okay.
23·· ·A· ··No.
24·· ·Q· ··So you think you -- so as you're remembering, you
25·· · · ··only went once, correct?

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·1·· ·A· ··December 24th.
·2·· ·Q· ··Okay.··So tell me about the trip to Metro.
·3·· ·A· ··At this point, I was afraid and I didn't know if they
·4·· · · ··were giving me something, because they wouldn't tell
·5·· · · ··me what I was taking.··They would just bring that
·6·· · · ··tray every morning and said that this is what I'm
·7·· · · ··supposed to be getting and either take it or not.
·8·· ·Q· ··Okay.
·9·· ·A· ··So I was afraid that if I didn't take it, something
10·· · · ··would happen, and then I didn't know what I was
11·· · · ··taking.
12·· · · · · ··So then when they took me to Metro, I was afraid.
13·· ·Q· ··All right.
14·· ·A· ··I didn't know what they were going to do to me so I
15·· · · ··wouldn't let them touch me, period.
16·· ·Q· ··How did you get to Metro?
17·· ·A· ··Transport from here.
18·· ·Q· ··So was it a --
19·· ·A· ··It was a female officer.··I was in shackles and
20·· · · ··chains.
21·· ·Q· ··So it was a van?··It wasn't an ambulance?
22·· ·A· ··No.··It wasn't an ambulance.
23·· ·Q· ··So it was a sheriff's van then?
24·· ·A· ··Yes.
25·· ·Q· ··Okay.··Got it.··Then they took you to the Metro

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·1·· · · ··emergency room?
·2·· ·A· ··Yes.
·3·· ·Q· ··All right.··Do you remember if they ran any tests?
·4·· ·A· ··I wouldn't let them touch me.
·5·· ·Q· ··All right.··So they didn't do what is called an EKG
·6·· · · ··where they hooked up some leads to you?
·7·· ·A· ··They might have did that, but I wouldn't let them
·8·· · · ··draw blood and I wouldn't give them any urine,
·9·· · · ··nothing.
10·· ·Q· ··All right.··What about scans, x-rays, CAT scan,
11·· · · ··anything like that?
12·· ·A· ··No.
13·· ·Q· ··Do you know what kinds of doctors you saw at Metro?
14·· ·A· ··Everybody was Spanish.
15·· · · · · · · · · · ·MR. GROSS:··Say that again.
16·· · · · · · · · · · ·THE WITNESS:··I said that everybody
17·· · · · · · · ··was Spanish.
18·· ·Q· ··All right.··Did you see a neurologist?
19·· ·A· ··I didn't see anyone but the ER nurses.
20·· ·Q· ··Did you see -- I imagine it's the same answer, but
21·· · · ··did you see a psychiatrist?
22·· ·A· ··Anybody but the ER nurses.
23·· ·Q· ··Okay.··So after you went to Metro, did you come back
24·· · · ··to the jail?
25·· ·A· ··No, I did not.

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·1·· ·Q· ··Okay.··You kind of posted bond while you were at the
·2·· · · ··hospital somehow?
·3·· ·A· ··There was no bond.
·4·· ·Q· ··Okay.··So do you remember what happened that led to
·5·· · · ··you being released?
·6·· ·A· ··I said they got tired of me passing out.
·7·· ·Q· ··So there wasn't a bond?··What did they tell you about
·8·· · · ··why you were free to leave?
·9·· ·A· ··Oh, I was supposed to be released that day anyway.
10·· ·Q· ··Okay.··And then do you recall if Metro -- did they
11·· · · ··release you from the hospital?
12·· ·A· ··The County released me at Metro.
13·· ·Q· ··Okay.··So the County has released you from custody.
14·· · · ··You're at the hospital, correct?
15·· ·A· ··Yes.
16·· ·Q· ··All right.··Did Metro then release you from the
17·· · · ··hospital, or did you leave AMA?
18·· ·A· ··I probably AMA'd.
19·· ·Q· ··And where did you go?
20·· ·A· ··Cleveland Clinic.
21·· ·Q· ··And Main Campus?
22·· ·A· ··Yes.
23·· ·Q· ··All right.··And why did you do that?
24·· ·A· ··Because I didn't trust Metro because they were part
25·· · · ··of the County.

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·1·· ·Q· ··All right.
·2·· ·A· ··And at this point, I'm afraid, because I keep passing
·3·· · · ··out.··I don't know what's wrong.··I'm not sure what
·4·· · · ··they're giving me, so now I don't want anything to do
·5·· · · ··with none of them.
·6·· ·Q· ··Okay.··What did they tell you at The Clinic?
·7·· ·A· ··Nobody had a clue.
·8·· ·Q· ··All right.
·9·· ·A· ··Because by then, I had taken my Xanax.
10·· ·Q· ··All right.··So when you went to the Main Campus ER,
11·· · · ··they couldn't identify the source of your seizure,
12·· · · ··correct?
13·· ·A· ··Right.
14·· ·Q· ··All right.
15·· ·A· ··I showed them my arm where I had bit my arm, bit my
16·· · · ··tongue.··I had a hole through my tongue.··They
17·· · · ··couldn't figure out why I had the -- you know,
18·· · · ··because they -- I guess they saw the medication in my
19·· · · ··system, so that didn't do a red flag for them at that
20·· · · ··time.
21·· ·Q· ··Okay.··You said you bit your tongue?
22·· ·A· ··All the way through.
23·· ·Q· ··And I gather this was during one of the seizures you
24·· · · ··had in the jail?
25·· ·A· ··Mm-hmm.··The same incident where I tried to bite the

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·1·· · · ··handcuffs off.
·2·· ·Q· ··Was that also the same incident where you ended up in
·3·· · · ··the restraint chair?
·4·· ·A· ··Yes.
·5·· ·Q· ··Okay.··So it sounds like there was a particularly bad
·6·· · · ··seizure incident where you bit your tongue, tried to
·7·· · · ··bite the handcuffs off, and ended up in the restraint
·8·· · · ··chair, right?
·9·· ·A· ··Yes.
10·· ·Q· ··And was that the worst one overall that you
11·· · · ··experienced here?
12·· · · · · · · · · · ·MR. GROSS:··Objection.
13·· ·A· ··That I was told.
14·· · · · · · · · · · ·MR. GROSS:··You can answer.
15·· ·A· ··That I was told.
16·· ·Q· ··Okay.
17·· ·A· ··Because I was out.
18·· ·Q· ··Okay.··So you don't remember a worse one?
19·· ·A· ··No.··I do not remember a worse one because I was
20·· · · ··unconscious of all of them.
21·· · · · · · · · · · ·MR. STEWART:··Okay.··Let's take five
22·· · · · · · · ··minutes here.
23·· · · · · · · · · · · · ·- - - -
24·· · · · · · ··(Thereupon, a recess was had.)
25·· · · · · · · · · · · · ·- - - -

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·1·· ·Q· ··Ms. Davis, before we went on break, it seems like you
·2·· · · ··may have remembered the name of Doctor Elaine.
·3·· · · · · ··What was that?
·4·· ·A· ··Campbell.
·5·· ·Q· ··All right.
·6·· ·A· ··Elaine Campbell.
·7·· ·Q· ··All right.··And she was associated with Behavioral
·8·· · · ··Health?
·9·· ·A· ··She was with Connections.
10·· ·Q· ··Okay.
11·· ·A· ··Which is now Signature Health.
12·· ·Q· ··And I just want to clarify.··You seemed to say after
13·· · · ··you left Metro AMA, but before you got to The Clinic,
14·· · · ··did you take your Xanax?
15·· ·A· ··Yes.
16·· ·Q· ··So did you go home or somewhere else first?
17·· ·A· ··No.··My daughter brought it.
18·· ·Q· ··So your daughter brought your Xanax to you in Metro?
19·· ·A· ··Yes.
20·· ·Q· ··All right.··And by the time you got to The Clinic,
21·· · · ··you had taken that already?
22·· ·A· ··Yes.
23·· ·Q· ··Okay.··Now, in addition to the Xanax, there are some
24·· · · ··allegations in this case about a medicine called
25·· · · ··Abilify, correct?

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·1·· ·A· ··Yes.
·2·· ·Q· ··If you would, we're going to put in front of you
·3·· · · ··what's been marked in Ms. Jackson's deposition as
·4·· · · ··Defendants' Exhibit 1.
·5·· ·A· ··Okay.
·6·· ·Q· ··First of all, have you seen this document before?
·7·· ·A· ··An Amended Complaint?
·8·· ·Q· ··That's correct.
·9·· ·A· ··No.
10·· ·Q· ··All right.··Did you see a document called Complaint?
11·· ·A· ··Yes.
12·· ·Q· ··Okay.··And I'll represent to you that the Complaint
13·· · · ··and the Amended Complaint are very similar.
14·· ·A· ··Okay.
15·· ·Q· ··Turn to Paragraph Number 70, please.··So Paragraph 70
16·· · · ··says, at the time she was booked into the corrections
17·· · · ··center, Plaintiff Davis advised intake that she was
18·· · · ··prescribed Abilify.
19·· · · · · ··Is that correct?
20·· ·A· ··That is correct.
21·· ·Q· ··Okay.··And would these be either the same Euclid
22·· · · ··police officer we discussed or the three people you
23·· · · ··spoke to in intake?
24·· ·A· ··Sir, every person that I spoke to that day concerning
25·· · · ··my containment --

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·1·· ·Q· ··Okay.
·2·· ·A· ··-- was told that I was on 6 milligrams of Xanax and 2
·3·· · · ··milligrams of Abilify daily.
·4·· ·Q· ··Okay.··So then the next paragraph, Paragraph 71,
·5·· · · ··Defendants' Cuyahoga County, Pinkney, Mills, and Ivey
·6·· · · ··were deliberately indifferent to your depression
·7·· · · ··because they never gave you Abilify.
·8·· · · · · ··Is that correct?
·9·· ·A· ··That is not correct.
10·· ·Q· ··Okay.··What happened?
11·· ·A· ··They gave me 10 milligrams of Abilify.
12·· ·Q· ··Okay.··So, like, generally speaking, that's the
13·· · · ··problem with the Abilify; they gave you 10 instead of
14·· · · ··2 milligrams, correct?
15·· ·A· ··That is correct.
16·· ·Q· ··All right.··And so I want to take you back to your
17·· · · ··previous answer where you indicated that you --
18·· · · ··everybody you spoke to, you discussed the Xanax and
19·· · · ··the Abilify issue, correct?
20·· ·A· ··That is correct.
21·· ·Q· ··All right.··So we've got the female Euclid police
22·· · · ··officer, correct?
23·· ·A· ··Mm-hmm.
24·· ·Q· ··Okay.··And we've got three individuals, two male, one
25·· · · ··female, at intake at the correction center, correct?

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·1·· ·A· ··Yes.
·2·· ·Q· ··Okay.··Anybody else that comes to mind in particular?
·3·· ·A· ··No one else was important, no.
·4·· ·Q· ··Okay.··So when you say, you know, I advised everybody
·5·· · · ··I encountered about the Abilify and the Xanax issue,
·6·· · · ··correct --
·7·· ·A· ··Mm-hmm.
·8·· ·Q· ··-- you mean the Euclid police officer and the three
·9·· · · ··intake people, correct?
10·· ·A· ··That is correct, sir.··Yes.
11·· ·Q· ··Okay.··And nobody else in particular comes to mind?
12·· ·A· ··No, sir.
13·· ·Q· ··Okay.··So going back to the Abilify issue, who had
14·· · · ··prescribed you the Abilify in December of 2018?
15·· ·A· ··By then, I was seeing Manjula Shah.
16·· ·Q· ··So this is Doctor Shah?
17·· ·A· ··Yes.
18·· ·Q· ··And we're going to do the same thing we did with the
19·· · · ··Xanax.··Going backward, did anybody else write you a
20·· · · ··prescription for Abilify?
21·· ·A· ··Yes.··Her nurse practitioner.
22·· ·Q· ··All right.
23·· ·A· ··She was an African American lady with a bad attitude.
24·· ·Q· ··All right.··Anyone else?
25·· ·A· ··No.

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·1·· ·Q· ··And when do you think -- well, when did you discover
·2·· · · ··that you had been given 10 milligrams instead of 2
·3·· · · ··milligrams of Abilify?
·4·· ·A· ··When they took me to see the psychiatrist --
·5·· ·Q· ··Okay.
·6·· ·A· ··-- after I had been up all night, because you can't
·7·· · · ··sleep in that place.
·8·· ·Q· ··Okay.··And so this is the psychiatrist in the
·9·· · · ··correction center, correct?
10·· ·A· ··Yes.··That is correct.
11·· ·Q· ··All right.··And she has an office somewhere?
12·· ·A· ··Yes.··She has an office.
13·· ·Q· ··All right.··And what, did she just tell you that she
14·· · · ··thought that was the problem, or how did that
15·· · · ··conversation go about the Abilify?
16·· ·A· ··We were going over what I was taking, because I was
17·· · · ··concerned that I kept passing out.
18·· ·Q· ··Mm-hmm.
19·· ·A· ··And she said, well, we're giving you exactly what you
20·· · · ··said you were on.··We can't give you Xanax here
21·· · · ··because we don't have that, but what we are giving
22·· · · ··you is an equal dose of Geodon and 10 milligrams of
23·· · · ··Abilify.··And I said, what in the --
24·· ·Q· ··What was that first drug?··I'm sorry to interrupt.
25·· ·A· ··Geodon.

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·1·· ·Q· ··Geodon.
·2·· ·A· ··Geodon.··Geodon.
·3·· ·Q· ··Okay.
·4·· ·A· ··She said, we're giving you the exact same dose of
·5·· · · ··Geodon for your Xanax.··We do not have Xanax here,
·6·· · · ··but we are giving you your 10 milligrams of Abilify.
·7·· · · · · ··And that's when I said, oh, that's the problem.
·8·· · · ··It's not 10.··It's 2.
·9·· ·Q· ··Okay.
10·· ·A· ··Maybe they heard me wrong.
11·· ·Q· ··All right.··And what did the psychiatrist say in
12·· · · ··response?
13·· ·A· ··She spoke to the officers.
14·· ·Q· ··Okay.
15·· ·A· ··She didn't -- that's the only conversation that her
16·· · · ··and I had.··And I also told her my concerns for my
17·· · · ··mental health and the sleeping.
18·· ·Q· ··Okay.
19·· ·A· ··Because I'm sleeping on a two-inch mat and I'm on it
20·· · · ··all day long.··I mean, for the whole time I was
21·· · · ··there, I was on a mat except for an hour a day.··And
22·· · · ··she's a psychiatrist.··I thought that that was the
23·· · · ··person to let them know what was going on.
24·· ·Q· ··Okay.··So we're going to get to the mat in a little
25·· · · ··bit, but I want to kind of stick with the Abilify for

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·1·· · · ··now, if we can.
·2·· ·A· ··Okay.
·3·· ·Q· ··So do you get the impression -- I mean, one
·4·· · · ··possibility is they misheard you and it was some kind
·5·· · · ··of mistake with the dosage, correct?··That's one
·6·· · · ··thing that could have happened.
·7·· ·A· ··Okay.
·8·· ·Q· ··Another possibility is they intentionally for some
·9·· · · ··reason changed or adjusted your medicine.
10·· · · · · ··As you sit here today and thinking back to
11·· · · ··speaking to that psychiatrist then, do you think she
12·· · · ··told you something one way or the other about what
13·· · · ··happened?
14·· ·A· ··She told me nothing.
15·· ·Q· ··Okay.
16·· ·A· ··And she knew everything.
17·· ·Q· ··Okay.··So you didn't know then whether or not the
18·· · · ··change in dose was a mistake or something that they
19·· · · ··did intentionally for some reason, correct?
20·· ·A· ··I can tell you what I believe.
21·· ·Q· ··All right.
22·· ·A· ··I can believe that they tried to compensate for what
23·· · · ··they didn't have.
24·· ·Q· ··Okay.··And where does that belief come from?
25·· ·A· ··It comes from the belief that I have researched this

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·1·· · · ··thing for the last four years, and there have been at
·2·· · · ··least five people that died in this jail system from
·3·· · · ··being taken off of Xanax, which is a Benzodiazepine
·4·· · · ··that you cannot stop taking abruptly.
·5·· ·Q· ··Okay.··So your own -- all right.··So I think you went
·6·· · · ··back to the Xanax there, right?
·7·· ·A· ··Yes, I did.
·8·· ·Q· ··Okay.··Staying on the Abilify, though --
·9·· ·A· ··Okay.
10·· ·Q· ··-- you indicated that you think that your Abilify
11·· · · ··dose was changed to compensate for -- I don't think
12·· · · ··you exactly said Xanax, but I think you meant Xanax,
13·· · · ··right?
14·· ·A· ··Yes.
15·· ·Q· ··Okay.··And I asked you where that belief came from,
16·· · · ··and you said you did some independent research,
17·· · · ··correct?
18·· ·A· ··Yes.
19·· ·Q· ··All right.··Have you discussed that with any of your
20·· · · ··doctors, psychiatrists, medical providers outside of
21·· · · ··the jail?
22·· ·A· ··No.
23·· ·Q· ··All right.··Did you discuss it with the psychiatrist
24·· · · ··we were talking about earlier when you were in the
25·· · · ··jail?

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·1·· ·A· ··No.··She was the one that told me what I was taking.
·2·· ·Q· ··Okay.··Did you discuss it at MetroHealth when you
·3·· · · ··were taken there from the jail?
·4·· ·A· ··I didn't discuss anything with them.
·5·· ·Q· ··All right.··What about at The Clinic later that day?
·6·· ·A· ··Yes, I did.
·7·· ·Q· ··Okay.··And did they tell you anything about the
·8·· · · ··dosage of Abilify?
·9·· ·A· ··No, they did not.
10·· ·Q· ··Okay.··Has anybody told you -- when I say anybody, I
11·· · · ··mean a doctor, a nurse, some kind of medical person
12·· · · ··--
13·· ·A· ··Mm-hmm.
14·· ·Q· ··-- told you whether your seizures while you were in
15·· · · ··the jail were caused by the Abilify dose, the absence
16·· · · ··of Xanax?
17·· ·A· ··Caused by the Abilify dose?
18·· ·Q· ··Yes.
19·· ·A· ··I'm really not sure.
20·· ·Q· ··Okay.
21·· ·A· ··No, I don't.··I'm not a medical professional, no.··No
22·· · · ··one's --
23·· ·Q· ··And the same with the Xanax, not having the Xanax,
24·· · · ··correct?
25·· · · · · · · · · · ·MR. GROSS:··Objection.

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·1·· · · · · · · · · · ·The first question, were you
·2·· · · · · · · ··asking if both those drugs caused the
·3·· · · · · · · ··seizure, and now you're asking just
·4·· · · · · · · ··the Xanax?
·5·· · · · · · · · · · ·MR. STEWART:··It's a fair point.··I
·6·· · · · · · · ··asked both questions at the same time, so
·7·· · · · · · · ··let's back up.
·8·· ·Q· ··Any medical professional told you that your seizures
·9·· · · ··in the jail were caused by the 10-milligram dose of
10·· · · ··Abilify?
11·· ·A· ··No.
12·· ·Q· ··All right.··Any medical professional told you that
13·· · · ··your seizures in the jail were caused by a change to
14·· · · ··or elimination of your Xanax dose?
15·· ·A· ··Yes.
16·· ·Q· ··All right.··And who was that?
17·· ·A· ··Cleveland Clinic Lutheran Medical Center.
18·· ·Q· ··All right.··And this is when you were in the detox in
19·· · · ··2019?
20·· ·A· ··Yes.··October.
21·· ·Q· ··Okay.··Anybody else?
22·· ·A· ··No.
23·· ·Q· ··Do you still have seizures of any kind today?
24·· ·A· ··No.
25·· ·Q· ··All right.··When do you think the last time you had a

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·1·· · · ··seizure was?
·2·· ·A· ··October 2019.
·3·· ·Q· ··Okay.··And the seizures you had, I think we discussed
·4·· · · ··three incidents after you left the jail; one at a
·5·· · · ··birthday party, one in the garage, and one in
·6·· · · ··October, correct?
·7·· ·A· ··Yes.
·8·· ·Q· ··Any others?
·9·· ·A· ··Any others?
10·· ·Q· ··Yes.
11·· ·A· ··No.
12·· ·Q· ··All right.··When do you think you last went to a
13·· · · ··doctor or medical provider concerning this seizure
14·· · · ··issue?
15·· ·A· ··October 2019.
16·· ·Q· ··Okay.··So no ongoing treatment, correct?
17·· ·A· ··No.
18·· ·Q· ··All right.··Any kind of lingering effects as a result
19·· · · ··of the seizure problem we've been discussing?
20·· ·A· ··My memory is not as it used to be.
21·· ·Q· ··Okay.··Could you describe that for me?
22·· ·A· ··Well, sometimes my daughter has to go through my bank
23·· · · ··statement and remind me of stuff that I did.··That's
24·· · · ··new the last couple years.
25·· ·Q· ··All right.··Anything else?

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·1·· ·A· ··No.
·2·· ·Q· ··Okay.··Injuries that you've sustained as a result of
·3·· · · ··the seizures, I think we discussed you bit your
·4·· · · ··tongue, correct?
·5·· ·A· ··Clean through, yes.
·6·· ·Q· ··All right.··Has that healed?
·7·· ·A· ··Yes.
·8·· ·Q· ··All right.··It sounds like you hit your head a couple
·9·· · · ··of times.
10·· ·A· ··About six times.
11·· ·Q· ··Okay.··Anybody diagnose you with concussion?
12·· ·A· ··No.
13·· ·Q· ··All right.
14·· ·A· ··But I was never checked for it.
15·· ·Q· ··Okay.··Any other -- well, as we sit here today, are
16·· · · ··you experiencing any, like, ongoing effects as a
17·· · · ··result of the seizure issue other than the memory
18·· · · ··loss we've discussed?
19·· ·A· ··No.
20·· ·Q· ··All right.··Now, I guess shifting that question to
21·· · · ··the past, between the time you left the jail and
22·· · · ··October of 2019, any other symptoms or effects of the
23·· · · ··seizure issue that we have not talked about already?
24·· ·A· ··Of the seizure issue?
25·· ·Q· ··Correct.

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·1·· ·A· ··No.
·2·· ·Q· ··All right.··So in addition to the medication issue
·3·· · · ··that we've discussed, you've got some other claims in
·4·· · · ··this lawsuit, correct?
·5·· ·A· ··Yes.
·6·· ·Q· ··All right.··Can you tell me what those are?
·7·· ·A· ··The conditions of the confinement center here.
·8·· ·Q· ··All right.
·9·· ·A· ··I don't know exactly how the men live, but the women
10·· · · ··are living pretty horrible in this place, if it's
11·· · · ··still going on.
12·· ·Q· ··Okay.··Anything else?
13·· · · · · ··We're going to go through the conditions of the
14·· · · ··confinement part of this, but any other --
15·· ·A· ··Okay.··Yes.··I have an issue.··I'm in fear for some
16·· · · ··reason of police now.
17·· ·Q· ··All right.
18·· ·A· ··And I've never felt like that before.
19·· ·Q· ··Okay.
20·· ·A· ··I, like, freak out when I see lights in my rearview
21·· · · ··mirror.··I just went to the bathroom.··I ran into an
22·· · · ··officer.··He asked me where I was going, and my heart
23·· · · ··just dropped.
24·· ·Q· ··Like today here?
25·· ·A· ··Yes.

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·1·· ·Q· ··All right.
·2·· ·A· ··And I've never felt like that.··My mom's always told
·3·· · · ··me that the police are your friend, and now I feel
·4·· · · ··like I'm in fear.
·5·· ·Q· ··Okay.··Any encounter -- I mean, have you been stopped
·6·· · · ··by the police in the time since you left the jail?
·7·· ·A· ··Yes.
·8·· ·Q· ··All right.··Generally, like, when?··What
·9·· · · ··circumstances?
10·· ·A· ··It was, like, right after my birthday in '20 -- or
11·· · · ··was it '19?··I think it was '19.··No.··It was '20.
12·· · · ··It was right after my birthday.
13·· · · · · ··In Lyndhurst, they pulled me over right there,
14·· · · ··Brainard and Mayfield, and I just lost it.··And he
15·· · · ··walked up to the car and he said, Ma'am, why are you
16·· · · ··crying?··I said, Because I don't know why you stopped
17·· · · ··me.··He said, Miss, I just want to let you know that
18·· · · ··your sticker expired and you can just go right up the
19·· · · ··street and get them.··And he said, I'm sorry if I
20·· · · ··scared you.··He said, Have a nice day.··And I had
21·· · · ··lost it by then.··I'm just in the car a mess.
22·· ·Q· ··Okay.··Did you then go and get this problem with your
23·· · · ··plates corrected?
24·· ·A· ··Immediately.
25·· ·Q· ··Any other encounters with the police since 2019?

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·1·· ·A· ··I don't go over the speed limit.··I don't pick up
·2·· · · ··stuff that don't belong to me.
·3·· ·Q· ··All right.
·4·· ·A· ··No.
·5·· ·Q· ··So kind of wrapped up in this, you have not been back
·6·· · · ··to jail since then?
·7·· ·A· ··No.
·8·· ·Q· ··Any plans to come back?
·9·· ·A· ··No.
10·· ·Q· ··All right.··So you indicated earlier that you read
11·· · · ··the initial Complaint, but you have not seen the
12·· · · ··first Amended Complaint that I put in front of you?
13·· ·A· ··No.··I have not.
14·· · · · · · · · · · ·MR. STEWART:··I guess I'd like to
15·· · · · · · · ··take a break, and I'm going to get the
16·· · · · · · · ··first Complaint here.
17·· · · · · · · · · · · · ·- - - -
18·· · · · · · ··(Thereupon, a recess was had.)
19·· · · · · · · · · · · · ·- - - -
20···(Thereupon, Defendants' Deposition Exhibit 7 was
21·· · ··marked for the purpose of identification.)
22·· · · · · · · · · · · · ·- - - -
23·· ·Q· ··So I'm going to put in front of you what's been
24·· · · ··marked as Defendants' Exhibit 7.
25·· · · · · ··Ms. Davis, do you recognize that as the original

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·1·· · · ··Complaint --
·2·· ·A· ··Yes.
·3·· ·Q· ··-- that was filed in this action?
·4·· ·A· ··Yes.
·5·· ·Q· ··All right.··Did you review that before it was filed?
·6·· ·A· ··Yes.
·7·· ·Q· ··All right.··And other than this issue we talked about
·8·· · · ··regarding the Abilify dose in Paragraph 70 and 71, is
·9·· · · ··there anything that you disagree with in it?
10·· ·A· ··Okay.··I disagree with it because -- okay.··Wait a
11·· · · ··minute.··Hold on.
12·· · · · · ··I disagree with it because it's not saying that I
13·· · · ··also told them I was taking Xanax.
14·· ·Q· ··Okay.··Well, if you look up above in Paragraphs,
15·· · · ··like, 66 through 69, that discussions the Xanax,
16·· · · ··correct?
17·· ·A· ··Okay.··And it was actually more like ten years
18·· · · ··instead of eight.
19·· ·Q· ··Okay.
20·· ·A· ··But yes.··I agree with these, yes.
21·· ·Q· ··Okay.··And you reviewed this document before it was
22·· · · ··filed in court, correct?
23·· ·A· ··Yes.
24·· ·Q· ··All right.··Do you understand this is filed as a
25·· · · ··class action?

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·1·· ·A· ··Yes, I do.
·2·· ·Q· ··Okay.··What does that mean to you?
·3·· ·A· ··What that means to me is that I am representing all
·4·· · · ··the women who have been harmed or will potentially be
·5·· · · ··harmed in the future in this case.
·6·· ·Q· ··Any time period associated with that?
·7·· ·A· ··I would believe it was from October of 2018 to
·8·· · · ··October of 2020.
·9·· ·Q· ··Okay.··And why only women?
10·· ·A· ··Because that's who I am.··I'm a woman, and I was
11·· · · ··housed in the women's part of this facility.
12·· ·Q· ··Okay.··Who's the case against?
13·· ·A· ··The case is against Cuyahoga County Correctional
14·· · · ··System.
15·· ·Q· ··Okay.··Anyone else?
16·· ·A· ··The persons that own the company, that runs the
17·· · · ··Ohio -- Cuyahoga County Correctional Systems.
18·· ·Q· ··Okay.··Any names?
19·· ·A· ··I remember Pinkney, Mills.
20·· ·Q· ··Okay.··So if you turn to the first page of Exhibit 1,
21·· · · ··you've got Clifford Pinkney, Kenneth Mills, and Eric
22·· · · ··Ivey, correct?
23·· ·A· ··Yes.
24·· ·Q· ··Have you ever met any of these gentlemen?
25·· ·A· ··Not that I'm aware of.

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·1·· ·Q· ··And do you know if they're still part of the case
·2·· · · ··today?
·3·· ·A· ··As far as I'm aware of, they're a part of the case
·4·· · · ··today.
·5·· ·Q· ··All right.··How many people would you estimate are in
·6·· · · ··the class of women who were in the jail?
·7·· ·A· ··How many would I estimate were in the class of women?
·8·· ·Q· ··Yes.··How many --
·9·· ·A· ··Not including the men?
10·· ·Q· ··Right.
11·· ·A· ··Just the women?
12·· ·Q· ··Sure.
13·· ·A· ··I would say four or five.
14·· ·Q· ··Four of five of --
15·· ·A· ··You mean the whole like --
16·· ·Q· ··Yeah.
17·· ·A· ··I don't know.
18·· ·Q· ··All right.··So you said you're bringing this to
19·· · · ··represent all of the women that were in the jail
20·· · · ··between October of '18 and October of '20, correct?
21·· ·A· ··Right.
22·· ·Q· ··Any estimate as to how many people that is?
23·· ·A· ··Oh, gosh.··I would have no clue.
24·· ·Q· ··Okay.
25·· ·A· ··I know there were about 2,000 women there when I was

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·1·· · · ··there.
·2·· ·Q· ··And that would be in December of 2018?
·3·· ·A· ··Yes.
·4·· ·Q· ··So we've got yourself.··We've got Ms. Tabatha
·5·· · · ··Jackson.
·6·· · · · · ··Any other specific women that are part of the
·7·· · · ··class?
·8·· ·A· ··Yeah.··There's a couple others.··I don't know them
·9·· · · ··personally.
10·· ·Q· ··Okay.
11·· ·A· ··Ms. Jackson is the only one that I know personally.
12·· ·Q· ··Have you discussed this case with Ms. Jackson?
13·· ·A· ··No.
14·· ·Q· ··All right.··Have you discussed it with any other
15·· · · ··former inmates or former inmates in the Cuyahoga
16·· · · ··County Correction Center?
17·· ·A· ··No.
18·· ·Q· ··Why a class action?··Why are you bringing this as a
19·· · · ··class action?
20·· ·A· ··I just feel like that it would be a better fit for
21·· · · ··one person to bring this type of suit and just speak
22·· · · ··for the others involved instead of you just having
23·· · · ··two months of women coming down here speaking to you.
24·· · · ··That's my thoughts.
25·· ·Q· ··Okay.··And you understand that yourself and Ms.

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·1·· · · ··Jackson are proposed as the representatives of the
·2·· · · ··class, correct?
·3·· ·A· ··That is correct.
·4·· ·Q· ··And what specific roles or duties do you have as a
·5·· · · ··class representative?
·6·· ·A· ··I believe that my role as a class representative is
·7·· · · ··to honestly and openly explain to you the conditions
·8·· · · ··of which we had to live in and were treated while
·9·· · · ··being housed here.
10·· ·Q· ··Okay.··Anything else?
11·· ·A· ··I would also bring to your attention the mistreatment
12·· · · ··of the women who were housed here and who will be in
13·· · · ··the future if it doesn't change.
14·· ·Q· ··All right.··And, again, what specific role do you
15·· · · ··play in bringing that about?
16·· ·A· ··I am the representative for those women.
17·· ·Q· ··Okay.··And I think you indicated you wanted to bring
18·· · · ··about change, correct?
19·· ·A· ··Yes.
20·· ·Q· ··All right.··Anything else that you hope to get out of
21·· · · ··bringing this action?
22·· ·A· ··I would hope that nobody ever lost a parent or a
23·· · · ··brother or a sister or a child because they made a
24·· · · ··mistake and had to be detained.
25·· ·Q· ··Are you hoping to obtain or recover any money as a

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·1·· · · ··result of bringing this action?
·2·· ·A· ··I believe that I almost died.
·3·· ·Q· ··Okay.
·4·· ·A· ··And my children would have been left without a mother
·5·· · · ··and my grandchildren without a grandmother.
·6·· ·Q· ··Okay.
·7·· ·A· ··And yes.··I am looking to recover for my emotional
·8·· · · ··distress.
·9·· ·Q· ··So you're looking to recover for yourself for your,
10·· · · ··kind of, emotional distress as you just described,
11·· · · ··correct?
12·· ·A· ··Yes.··I almost died.
13·· ·Q· ··Anything on behalf of the other members of the class?
14·· · · · · · · · · · ·MR. GROSS:··Objection.
15·· · · · · · · · · · ·Go ahead.
16·· ·A· ··I would just like to represent all involved and
17·· · · ··hopefully make them proud.
18·· ·Q· ··Do you expect that they would receive any money if
19·· · · ··you're successful in this?
20·· ·A· ··I would suspect that in a class action suit that all
21·· · · ··involved would receive anything that would be
22·· · · ··recovered in this type of complaint.
23·· ·Q· ··Okay.··Do you know who the judge in this case is?
24·· ·A· ··It's a lady.··I do remember that, but I don't
25·· · · ··remember her name.

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·1·· ·Q· ··Okay.
·2·· ·A· ··Her name is Pamela A. Barker.
·3·· ·Q· ··All right.··What court is this case now pending in?
·4·· · · · · ··And you're looking at the Complaint, correct?
·5·· ·A· ··Mm-hmm.··I'm looking at the Complaint.
·6·· · · · · ··What court?
·7·· ·Q· ··Yes.
·8·· ·A· ··It's going to be in the United States District Court
·9·· · · ··for the Northern District of Ohio.
10·· ·Q· ··Okay.··About when was the case filed?
11·· ·A· ··It was filed in 2019.
12·· ·Q· ··Okay.
13·· ·A· ··Or was it '20?··It might have been '20, because that
14·· · · ··was after I got out of the hospital.
15·· ·Q· ··So 2019 or '20?
16·· ·A· ··Yes.
17·· ·Q· ··All right.··How are you paying to prosecute this
18·· · · ··action?
19·· · · · · · · · · · ·MR. GROSS:··Objection.
20·· · · · · · · · · · ·Go ahead.
21·· ·A· ··How am I paying?
22·· ·Q· ··Yes.
23·· ·A· ··It's if I don't receive anything, I don't pay
24·· · · ··anything.
25·· ·Q· ··Okay.··But you understand that, you know, prosecuting

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·1·· · · ··or filing any lawsuit can be expensive, correct?
·2·· ·A· ··Yes.
·3·· ·Q· ··And filing a class action can be even more expensive
·4·· · · ··than a regular lawsuit, correct?
·5·· ·A· ··Okay.
·6·· ·Q· ··Well, did you know that?
·7·· ·A· ··No, I did not.
·8·· ·Q· ··Okay.··And if there are expenses related to
·9·· · · ··prosecuting this action -- for example, we have a
10·· · · ··court reporter with us today -- how would those be
11·· · · ··paid?
12·· · · · · · · · · · ·MR. GROSS:··Objection.
13·· · · · · · · · · · ·You can answer.
14·· ·Q· ··If you know.
15·· ·A· ··How would they be paid?
16·· ·Q· ··Yes.
17·· ·A· ··It would -- I don't have it to pay it right at the
18·· · · ··moment, but I do have means in order to pay a bill if
19·· · · ··need be.
20·· ·Q· ··Okay.··So you would expect to pay the costs yourself?
21·· ·A· ··Most definitely.
22·· ·Q· ··Have you hired any experts in this case?
23·· ·A· ··No.
24·· ·Q· ··All right.··Do you expect to?
25·· · · · · · · · · · ·MR. GROSS:··Objection.

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·1·· · · · · · · · · · ·Go ahead.
·2·· ·A· ··Yes.
·3·· ·Q· ··All right.··Has anything happened in court in this
·4·· · · ··case since it's been filed?
·5·· ·A· ··Has anything happened in court in this case?
·6·· ·Q· ··Yes.··Has the judge made any decisions?
·7·· ·A· ··No.
·8·· ·Q· ··All right.··Has -- let's leave it at that.
·9·· ·A· ··Okay.
10·· ·Q· ··Who are your attorneys?
11·· ·A· ··Lewis A. Zipkin, but my attorney is Kevin Gross.
12·· ·Q· ··All right.··And when do you think you first met
13·· · · ··Mr. Gross?
14·· ·A· ··In late 2019, maybe December.
15·· ·Q· ··Have you ever met with Mr. Zipkin?
16·· ·A· ··Yes.
17·· ·Q· ··All right.··When?
18·· ·A· ··Summer of '21.
19·· ·Q· ··Any other times?
20·· ·A· ··No.
21·· ·Q· ··All right.··How many times do you think you met with
22·· · · ··Mr. Gross?
23·· ·A· ··Approximately three.
24·· ·Q· ··All right.··How did you select Mr. Gross and
25·· · · ··Mr. Zipkin to be your attorneys?

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·1·· ·A· ··Family.
·2·· ·Q· ··All right.··So somebody referred you?
·3·· ·A· ··Yes.
·4·· ·Q· ··All right.··Who was that?
·5·· · · · · · · · · · ·MR. GROSS:··You can answer.
·6·· ·A· ··Tabatha Jackson.
·7·· ·Q· ··All right.··And so you're related to Ms. Jackson?
·8·· ·A· ··Yes.
·9·· ·Q· ··How?
10·· ·A· ··Family.··I mean, she's not blood, but I say that
11·· · · ··she's family.
12·· ·Q· ··So she's not a blood relative?
13·· ·A· ··No.
14·· ·Q· ··How long have you known Ms. Jackson?
15·· ·A· ··I met her when I was here.
16·· ·Q· ··Okay.··So you hadn't met her before?
17·· ·A· ··No.
18·· ·Q· ··And do you socialize with Ms. Jackson?
19·· ·A· ··No.
20·· ·Q· ··So do you have a connection with Ms. Jackson kind of
21·· · · ··outside of the context of this case?
22·· ·A· ··No.
23·· ·Q· ··Did you speak to any other attorneys regarding
24·· · · ··bringing this case?
25·· ·A· ··No.

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·1·· ·Q· ··All right.··Tell me your understanding of your role
·2·· · · ··compared to your attorneys in this cause?
·3·· ·A· ··My role compared to my attorneys?
·4·· ·Q· ··Yeah.··What do you do and what do they do?
·5·· ·A· ··What do I do and what do they do?
·6·· ·Q· ··Yes.
·7·· ·A· ··Well, what my attorneys do is fight for me in legal
·8·· · · ··terms that I know nothing about.
·9·· ·Q· ··Okay.
10·· ·A· ··What I do is tell my attorneys the truth concerning
11·· · · ··my complaint.
12·· ·Q· ··All right.··If your attorneys wanted to do something
13·· · · ··you didn't want them to do, would you feel
14·· · · ··comfortable telling them not to?
15·· ·A· ··Yes.
16·· ·Q· ··All right.··So if you look at Exhibit 7, Paragraph --
17·· · · ··let's call it 23.
18·· ·A· ··Mm-hmm.
19·· ·Q· ··Are you with me?
20·· ·A· ··Yes.
21·· ·Q· ··We have a list of nine specific conditions that, you
22·· · · ··know, you alleged occurred in the jail.
23·· ·A· ··Yes.
24·· ·Q· ··Would you just kind of look through that nine and
25·· · · ··tell me if you've experienced each and every one of

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·1·· · · ··those?
·2·· ·A· ··Yes.
·3·· ·Q· ··So that's a yes, that you believe you've experienced
·4·· · · ··each of those?
·5·· ·A· ··Yes.
·6·· ·Q· ··All right.··So let's start with the mats.
·7·· ·A· ··Mm-hmm.
·8·· ·Q· ··You indicated earlier that you slept on a mat on the
·9·· · · ··floor, correct?
10·· ·A· ··Yes.
11·· ·Q· ··Was that every night you were in the jail?
12·· ·A· ··Yes.
13·· ·Q· ··All right.··So you were never assigned to a bunk?
14·· ·A· ··I was assigned to a bunk, but I slept on the floor.
15·· ·Q· ··Why was that?
16·· ·A· ··Because the top bunk had been ripped out because of
17·· · · ··people hanging themselves in the jail cells, so
18·· · · ··there's no top bunk.··So there's only a bottom rack
19·· · · ··and then the floor.
20·· ·Q· ··Okay.··So there wasn't a top bunk at all?
21·· ·A· ··No.
22·· ·Q· ··And are you talking about -- it sounds like you spent
23·· · · ··some time in both the medical pod and a night in the
24·· · · ··general population pod, correct?
25·· ·A· ··That's correct.

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·1·· ·Q· ··Was this the situation in both the general population
·2·· · · ··pod and the medical pod?
·3·· ·A· ··All the top bunks had been ripped out.
·4·· ·Q· ··Okay.··Were you always assigned to a pod with cells?
·5·· ·A· ··Yes.
·6·· ·Q· ··All right.··Are you aware that some inmates sleep in
·7·· · · ··open dorms?
·8·· ·A· ··No.
·9·· ·Q· ··No, you're not aware, correct?
10·· ·A· ··I'm not aware.
11·· ·Q· ··But you never slept in an open dorm, correct?
12·· ·A· ··I slept in an open dorm on the floor, but there were
13·· · · ··cells all around.
14·· ·Q· ··Gotcha.
15·· · · · · ··So tell me about the mats in particular.··You
16·· · · ··said you slept on them.··Any other problems with the
17·· · · ··mats?
18·· ·A· ··The mats are some kind of weird cloth/plasticky
19·· · · ··material that's supposed to be wiped off.
20·· ·Q· ··Okay.
21·· ·A· ··They're about two inches thick and they're about
22·· · · ··18 inches wide.
23·· ·Q· ··Okay.
24·· ·A· ··They're blue in color, like a navy/royal blue, and
25·· · · ··they're supposed to be wiped off.··I never saw one

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·1·· · · ··wiped off.
·2·· ·Q· ··Okay.··So it sounds like there was some kind of
·3·· · · ··contaminant or mess, or something, on the mat you
·4·· · · ··slept on?
·5·· ·A· ··Yes.
·6·· ·Q· ··All right.··And what was that?
·7·· ·A· ··I don't know exactly what it was.··It was stained,
·8·· · · ··but I was given a wool blanket, but if I put the wool
·9·· · · ··blanket on the mat, then I didn't have anything to
10·· · · ··cover up with, so I had to make a choice; did I want
11·· · · ··to sleep on the dirty mat or be cold?
12·· ·Q· ··Okay.··Any particular injuries that you suffered as a
13·· · · ··result of sleeping on the mat?
14·· ·A· ··I didn't get any sleep, so I was up for the whole
15·· · · ··time I was here.··The light is just like this all
16·· · · ··night.
17·· ·Q· ··Okay.
18·· ·A· ··And that's where the CO sits and has her
19·· · · ··conversations with her boyfriend all night and/or
20·· · · ··whatever, and there's no way of getting any sleep.
21·· ·Q· ··Okay.
22·· ·A· ··You're uncomfortable, first of all, and then there's
23·· · · ··noise and light.
24·· ·Q· ··Okay.··Any physical injuries as a result of the mat?
25·· ·A· ··Yes.··My back was killing me.

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·1·· ·Q· ··All right.··Have you seen a doctor about your back
·2·· · · ··since you've been out?
·3·· ·A· ··Well, that's why I was taking the Percocet, because
·4·· · · ··my number six disc is crushed on one side.
·5·· ·Q· ··Okay.··So you were taking the Percocet when you were
·6·· · · ··in the jail, correct?
·7·· ·A· ··No.
·8·· ·Q· ··All right.··Before you got to the jail?
·9·· ·A· ··No, no.··But that's why I was prescribed the
10·· · · ··Percocet.
11·· ·Q· ··All right.··So are you contending that your disc was
12·· · · ··crushed while you were in the jail?
13·· ·A· ··Yes.
14·· ·Q· ··Okay.··All right.··And who diagnosed you with a
15·· · · ··crushed disc?
16·· ·A· ··Deniece Parkinson.
17·· ·Q· ··And is Ms. Parkinson, what is she?··Is she a --
18·· ·A· ··She's a VPA.
19·· ·Q· ··All right.··Do you know if there's been any x-rays,
20·· · · ··MRIs, or that kind of thing, of your back?
21·· ·A· ··Yes.
22·· ·Q· ··Where did you get those done?
23·· ·A· ··Cleveland Clinic.
24·· ·Q· ··Main Campus, South Pointe, somewhere else?
25·· ·A· ··Hillcrest.

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·1·· ·Q· ··Hillcrest?
·2·· ·A· ··And I think I had one in Main Campus, also.
·3·· ·Q· ··Okay.··And you think -- like, you believe this was a
·4·· · · ··result of sleeping on the mats?
·5·· ·A· ··My crushed disc?
·6·· ·Q· ··Yes.
·7·· ·A· ··No.
·8·· ·Q· ··What do you --
·9·· ·A· ··I had that before I came.
10·· ·Q· ··Okay.··All right.··I think we're confusing each
11·· · · ··other, Ms. Davis.
12·· ·A· ··Okay.
13·· ·Q· ··Let's see if we can unpack this.
14·· ·A· ··All right.
15·· ·Q· ··Are you saying your disc got crushed as a result of
16·· · · ··something that happened in the jail?
17·· ·A· ··No.
18·· ·Q· ··Okay.··You seemed to say yes there, and I wanted to
19·· · · ··--
20·· ·A· ··No.
21·· ·Q· ··Okay.··But sleeping on the mat, you're saying kind of
22·· · · ··aggravated or upset something that was already there?
23·· ·A· ··Yes.
24·· ·Q· ··All right.
25·· ·A· ··Yes.

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·1·· ·Q· ··Okay.··And, like, after you got out, I guess either
·2·· · · ··at MetroHealth or when you went to The Clinic, did
·3·· · · ··you discuss this issue with the back with them?
·4·· ·A· ··Well, that was already in my chart, which one of the
·5·· · · ··diagnosis in my Cleveland Clinic chart is that I have
·6·· · · ··the back issue --
·7·· ·Q· ··Okay.
·8·· ·A· ··-- with the radiation of pain.
·9·· · · · · ··But I think it's inhuman to have somebody on a
10·· · · ··mat for 22, 23 hours out of a day.
11·· ·Q· ··But, I mean, you could kind of get up and walk around
12·· · · ··if you wanted to, right, in the day room?
13·· ·A· ··No.
14·· ·Q· ··No?
15·· ·A· ··You were not allowed to get off of the mat unless you
16·· · · ··were told.··And most of the time, there was a
17·· · · ··staffing issue, so the COs didn't want to be
18·· · · ··bothered, so they just made you stay in the cell or
19·· · · ··on the mat.
20·· ·Q· ··So the mat -- I guess we're talking about the medical
21·· · · ··pod now.
22·· · · · · ··The mat was in a cell on the floor, correct?
23·· ·A· ··No.··In the medical pod, it was in the population
24·· · · ··area on the floor.··I didn't get a cell.
25·· ·Q· ··All right.··And were you able to kind of -- talking

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·1·· · · ··solely about the medical pod, were you able to kind
·2·· · · ··of get up and walk around the pod?
·3·· ·A· ··The only time I could get up is if I had to use the
·4·· · · ··bathroom.
·5·· ·Q· ··All right.··And the situation we were talking about
·6·· · · ··about being locked in the cell with the mat, that was
·7·· · · ··in the general population pod, correct?
·8·· ·A· ··Both.
·9·· ·Q· ··All right.··You've said that the mat in the medical
10·· · · ··pod was sort of out in the -- is it the day room?
11·· ·A· ··Yes.
12·· ·Q· ··Okay.··And then was that the same situation in the
13·· · · ··general population pod?
14·· ·A· ··General population pod, I was in Ms. Jackson's cell
15·· · · ··with a mat on the floor.
16·· ·Q· ··And I think you just said this, but I want to make
17·· · · ··sure.
18·· · · · · ··You couldn't leave the pod because -- I'm sorry.
19·· ·A· ··The mat.
20·· ·Q· ··You couldn't leave the mat or the cell because it was
21·· · · ··on lockdown, correct?
22·· ·A· ··Yes.
23·· ·Q· ··Okay.
24·· ·A· ··22, 23 hours a day.
25·· ·Q· ··All right.

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·1·· ·A· ··So I was just grateful for bedtime because I knew
·2·· · · ··that it was one more day down.
·3·· ·Q· ··Do you know if inmates sleep on mats on the floor
·4·· · · ··today?
·5·· ·A· ··I don't know.
·6·· ·Q· ··All right.··Do you know if they slept on mats on the
·7·· · · ··floor at any point after you left the jail?
·8·· ·A· ··I'm sure they did.
·9·· ·Q· ··Okay.··And why do you say that?
10·· ·A· ··Because Tabatha was still there.
11·· ·Q· ··You know that because Ms. Jackson told you that?
12·· ·A· ··Yes.
13·· ·Q· ··Other than what you've heard from Ms. Jackson and
14·· · · ··where she slept, any other basis to say that inmates
15·· · · ··slept on the floor on mats since you left?
16·· ·A· ··I have no idea.
17·· ·Q· ··Okay.··Do you know if the jail made any changes to
18·· · · ··how they were handling mats, say, in the fall of
19·· · · ··2019?
20·· ·A· ··Do I know of any changes they might have made?
21·· ·Q· ··Yes.
22·· ·A· ··No, I don't.
23·· ·Q· ··Any changes as a result of COVID?
24·· ·A· ··I don't know if they made any changes for COVID.
25·· ·Q· ··Okay.··Do you know if the County or the sheriff has

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·1·· · · ··any official policy concerning mats?
·2·· ·A· ··I don't know of any policy concerning mats.
·3·· ·Q· ··Okay.··Any specific state or federal law that you
·4·· · · ··know of that governs the appropriateness or the use
·5·· · · ··of the mats on the floor?
·6·· ·A· ··I have no knowledge of that.
·7·· ·Q· ··Okay.··So the next issue in your Complaint that I
·8·· · · ··want to cover is the noisy conditions.
·9·· ·A· ··Yes.
10·· ·Q· ··Tell me about those.
11·· ·A· ··Well, like I said, the CO's talking to her boyfriend
12·· · · ··all night or he's talking to his girlfriend all
13·· · · ··night, and then you got women hollering back and
14·· · · ··forth between the cells.··One's in that cell.··This
15·· · · ··one's in that cell.··They're screaming back and
16·· · · ··forth.··Then the CO is saying, shut the F up, and
17·· · · ··everybody is so disrespectful and so -- it's bad.
18·· · · ··It's bad.
19·· ·Q· ··Okay.··So some COs talking on the phone, correct?
20·· ·A· ··Mm-hmm.
21·· ·Q· ··First of all, are they talking on, like, their own
22·· · · ··cell phone, or are they talking on the jailhouse
23·· · · ··phone?
24·· ·A· ··Cell phone.
25·· ·Q· ··Okay.··Any particular COs that come to mind?

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·1·· ·A· ··I can see her, but I don't know her name.··She's
·2·· · · ··African American, tall, light-skinned, ponytail.
·3·· · · · · ··She was the meanest one of all.··She would come
·4·· · · ··in and say, I'm not going to have no trouble out of
·5·· · · ··you today, Davis.··And that would mean don't pass
·6·· · · ··out.··And I would keep telling them, I don't know why
·7·· · · ··I'm passing out.
·8·· ·Q· ··Okay.··And this was somebody who worked the medical
·9·· · · ··pod?
10·· ·A· ··She was night shift.
11·· ·Q· ··All right.··So she was night shift on the medical
12·· · · ··pod?
13·· ·A· ··Yes.
14·· ·Q· ··Okay.··Any other COs that come to mind?
15·· ·A· ··Just the corporal.
16·· ·Q· ··Is this the same corporal we talked about earlier?
17·· ·A· ··Yes.
18·· ·Q· ··Caucasian guy, dark hair?
19·· ·A· ··Yes.
20·· · · · · ··And then Officer Dye, because he smelled so good.
21·· · · ··I could still smell him.
22·· ·Q· ··All right.
23·· ·A· ··And there was Ms. Jackson that was in gen pop, too.
24·· ·Q· ··Why are you mentioning Ms. Jackson?
25·· ·A· ··No, no, no.··The CO Ms. Jackson.

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·1·· ·Q· ··Oh, the CO Ms. Jackson.
·2·· ·A· ··Yes.
·3·· ·Q· ··This is going to confuse me.
·4·· · · · · ··So we've got the CO Jackson, the corporal, and
·5·· · · ··the female CO we discussed in the medical pod.
·6·· · · · · ··Anyone else?
·7·· ·A· ··And then there was a maintenance man that came in
·8·· · · ··every night at 2:00 or 3:00 in the morning wrangling
·9·· · · ··his bucket and mop.
10·· ·Q· ··Mm-hmm.
11·· ·A· ··I thought that was just horrible.··They didn't care
12·· · · ··anything about us.··It was like, we don't care.
13·· ·Q· ··Could you describe this guy for me?
14·· ·A· ··Little raggedy muffin.
15·· ·Q· ··White guy, black guy?
16·· ·A· ··Black guy, older guy.··He'd come in, like, 2:00 or
17·· · · ··3:00 with a bucket and a mop and a sponge.
18·· ·Q· ··Inmate, CO, or --
19·· ·A· ··He was an inmate.
20·· ·Q· ··All right.··So he was a -- I think they call them
21·· · · ··trustees, or something like that.
22·· ·A· ··Yes.··And he would bang that bucket and that mop, and
23·· · · ··it was feces that he would be cleaning up off the
24·· · · ··floor and urine.··It was horrible.
25·· ·Q· ··Okay.··And you said that because of the noise, you

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·1·· · · ··couldn't sleep?
·2·· ·A· ··No.
·3·· ·Q· ··And was that in both the medical and the --
·4·· ·A· ··All day, all night.··It doesn't matter.··The lights
·5·· · · ··never go off.··There's always a commotion somewhere.
·6·· ·Q· ··Okay.··Did you ever file a grievance or send a kite
·7·· · · ··regarding first the mats?
·8·· ·A· ··The kites are sent through personnel.
·9·· ·Q· ··Okay.
10·· ·A· ··There is no need of sending a kite.··No, I did not.
11·· ·Q· ··Okay.··And then same question with respect to the
12·· · · ··noise.··Did you ever send a kite related to the
13·· · · ··noise?
14·· ·A· ··No.
15·· ·Q· ··Had you ever measured the noise level in the jail?
16·· ·A· ··If I had to measure it as far as like my children in
17·· · · ··my house, I would say it was about an eight.
18·· ·Q· ··So an eight out of ten?
19·· ·A· ··Mm-hmm.
20·· ·Q· ··But that's just an estimate.··You can't --
21·· ·A· ··Yes.
22·· ·Q· ··You've not, like, personally taken some kind of meter
23·· · · ··in there and measured it?
24·· ·A· ··No.
25·· ·Q· ··All right.··Do you know if anybody has?

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·1·· ·A· ··Not that I know of.
·2·· ·Q· ··Do you know if the County has any kind of official
·3·· · · ··policy or practice concerning noise level in the
·4·· · · ··jail?
·5·· ·A· ··I have no idea.
·6·· ·Q· ··Okay.··Do you know if there's any state or federal
·7·· · · ··law concerning noise?
·8·· ·A· ··That, I do not know, but it should be.
·9·· ·Q· ··Okay.··Do you have any problems today with your
10·· · · ··hearing as a result of the noise in the jail?
11·· ·A· ··No.··I've always had very good hearing.
12·· ·Q· ··Okay.··And so we've got -- I guess I want to cover
13·· · · ··the urine and feces issue together.··It seems like it
14·· · · ··is listed separately as kind of encountering the
15·· · · ··thing itself and also the smell, right?
16·· ·A· ··Okay.
17·· ·Q· ··So did you, like, kind of personally encounter any
18·· · · ··kind of urine or feces while you were in our jail?
19·· ·A· ··Yes.··I slept right -- I was the first mat as soon as
20·· · · ··you walk in the pod, and then the bathroom shower was
21·· · · ··right there, so I was right at -- and that was the
22·· · · ··bathroom that the females that slept on the floor had
23·· · · ··to use.
24·· ·Q· ··All right.
25·· ·A· ··So it was right there at my mat, yes.

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·1·· ·Q· ··And so is this more an issue of smell, or is it an
·2·· · · ··issue of the stuff was leaking out of the bathroom?
·3·· ·A· ··It was the smell and the -- it was the plumbing.
·4·· ·Q· ··Okay.
·5·· ·A· ··It was the smell and the plumbing.
·6·· ·Q· ··So you think the smell was, like, coming from the
·7·· · · ··plumbing or --
·8·· ·A· ··It was coming from the plumbing.
·9·· ·Q· ··And was there, like, also a problem with backups?
10·· ·A· ··It did back up around the floor.··That's what the guy
11·· · · ··would be cleaning up at night.
12·· ·Q· ··Okay.
13·· ·A· ··It would come up under that -- you know where the
14·· · · ··toilet is planted to the floor?
15·· ·Q· ··Okay.
16·· ·A· ··It would come up from there.
17·· ·Q· ··Okay.··So I'm just trying to picture this in my head.
18·· · · · · ··Is the toilet sort of anchored to the floor
19·· · · ··somehow?
20·· ·A· ··Yes.
21·· ·Q· ··And then there's kind of a seam, or something, around
22·· · · ··where the toilet and the floor --
23·· ·A· ··Connect.
24·· ·Q· ··Right.
25·· ·A· ··And then it would be all around there.

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·1·· ·Q· ··Okay.··And is this, like, soiled water that's coming
·2·· · · ··out of the toilet or clean water that's coming in, or
·3·· · · ··both?
·4·· ·A· ··The water was cloudy.··It was almost like a yellowish
·5·· · · ··tinge to the water, but there would be backups from
·6·· · · ··the feces.
·7·· ·Q· ··And is that a separate issue than this leak where --
·8·· ·A· ··That's a separate issue.
·9·· ·Q· ··Okay.··All right.··So it would be just the toilet got
10·· · · ··clogged and it would overflow then?
11·· ·A· ··Yes.
12·· ·Q· ··All right.
13·· ·A· ··Because a lot of women that had cells, their toilets
14·· · · ··didn't work, so they were using that particular
15·· · · ··toilet, also.··So that toilet got a lot of use.
16·· ·Q· ··Okay.
17·· ·A· ··And then the bugs in the shower that wouldn't go down
18·· · · ··the hole because the bugs were too big to go in the
19·· · · ··little hole, so you would be standing in this water.
20·· · · · · ··So I would take my cup, my styrofoam cup --
21·· · · ··because they'd give you a little Kool-Aid packet and
22·· · · ··a styrofoam cup with every meal, and then you're
23·· · · ··supposed to use the water from the sink, and it's
24·· · · ··like a little spigot up over the --
25·· ·Q· ··Is it sort of like a drinking fountain or --

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·1·· ·A· ··It's supposed to be like a drinking fountain --
·2·· ·Q· ··Mm-hmm.
·3·· ·A· ··-- but the water coming out of the spigot was the
·4·· · · ··same color of the water in the toilet, which was like
·5·· · · ··a yellowish tinge, so you couldn't drink it.
·6·· ·Q· ··All right.··I think we got the water and the bugs,
·7·· · · ··right?··Those are -- I guess you just kind of raised
·8·· · · ··those issues, right?
·9·· ·A· ··Yes.··It was bad.··I used to take my cup and empty
10·· · · ··out the shower so that I wouldn't have to stand in
11·· · · ··that nasty water.
12·· ·Q· ··All right.··And so when you're discussing having to
13·· · · ··live in an environment infested with bugs -- I guess
14·· · · ··that's Number 9 on the list here --
15·· ·A· ··Okay.
16·· ·Q· ··-- is that the concern you have about the shower that
17·· · · ··you just discussed?
18·· ·A· ··No.
19·· ·Q· ··Okay.
20·· ·A· ··There were bugs in the food, also.
21·· ·Q· ··So we'll do all of the food together.
22·· ·A· ··Okay.
23·· ·Q· ··I'm trying to kind of work on these one at a time, if
24·· · · ··we can.
25·· ·A· ··Okay.

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·1·· ·Q· ··So in terms of just encountering bugs, right, you
·2·· · · ··said the shower was a problem?
·3·· ·A· ··Yes.
·4·· ·Q· ··And now, did you ever use the shower in the general
·5·· · · ··population pod when you were there?
·6·· ·A· ··Just the medical.
·7·· ·Q· ··Okay.··So we're talking about the medical pod?
·8·· ·A· ··Mm-hmm.
·9·· ·Q· ··All right.··Any other kind of issue with bugs that
10·· · · ··are coming to mind?
11·· ·A· ··Just crawling.
12·· ·Q· ··So just crawling around the area in general, right?
13·· ·A· ··Yes.
14·· ·Q· ··Did you ever get stung or bitten by a bug?
15·· ·A· ··No.··I used to keep my towel over my head at night so
16·· · · ··they wouldn't get in my ears.
17·· ·Q· ··All right.··So I think we've covered the noise, the
18·· · · ··bugs, the feces and urine.
19·· · · · · ··For those three issues, do you know if the County
20·· · · ··has any particular policy or practice concerning --
21·· · · ··well, let's go through them one at a time --
22·· · · ··concerning noise?
23·· ·A· ··There has to be some kind of ordinance.··This is a
24·· · · ··public facility.
25·· ·Q· ··All right.··But do you know if the County has a

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·1·· · · ··particular policy?
·2·· ·A· ··No, I don't.
·3·· ·Q· ··What about a state or federal law concerning --
·4·· ·A· ··There should be, but no, I don't.
·5·· ·Q· ··Okay.··Now let's talk about bugs.
·6·· ·A· ··Mm-hmm.
·7·· ·Q· ··Do you know if there's any official County policy or
·8·· · · ··practice concerning pest control in the jail?
·9·· ·A· ··No, I don't.
10·· ·Q· ··Okay.··Any state or federal law?
11·· ·A· ··I'm sure there should be.
12·· ·Q· ··But you don't know one way or the other as you sit
13·· · · ··here today?
14·· ·A· ··No, I don't.
15·· ·Q· ··What about since you left the jail, have there been
16·· · · ··any changes concerning noise level?
17·· ·A· ··I don't know.
18·· ·Q· ··What about bugs?··Have there been any changes
19·· · · ··concerning bugs?
20·· ·A· ··I'm sure there hasn't.
21·· ·Q· ··Why do you say that?
22·· ·A· ··Because this place is filthy.
23·· ·Q· ··But you have not personally been there since the end
24·· · · ··of --
25·· ·A· ··No, I haven't.

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·1·· ·Q· ··So you don't personally know one way or the other?
·2·· ·A· ··No, I don't.
·3·· ·Q· ··All right.··And then feces, urine, sanitation issues,
·4·· · · ··do you know if there's any official County policy
·5·· · · ··concerning feces, urine, sanitation, cleaning?
·6·· ·A· ··I'm sure there should be, but I don't know.
·7·· ·Q· ··Same thing with the state, federal law concerning
·8·· · · ··sanitation standards?
·9·· ·A· ··I don't know, but I'm sure there should be.
10·· ·Q· ··All right.··In terms of, you know, since you left the
11·· · · ··jail, have there been any changes made concerning
12·· · · ··sanitation practices since you left in 2018?
13·· ·A· ··Sir, I really don't know.
14·· ·Q· ··All right.
15·· ·A· ··I would hope that things have changed.
16·· ·Q· ··But you don't know personally one way or the other.
17·· ·A· ··No, I don't.
18·· ·Q· ··So we've got some -- if you turn to 23, we've got
19·· · · ··some issues about the food, correct?
20·· ·A· ··Yes.
21·· ·Q· ··You have 3, spoiled food, 4, moldy trays, 5, food
22·· · · ··with dead and alive bugs, correct?
23·· ·A· ··Yes, yes, yes.
24·· ·Q· ··So it sounds like we've got three different
25·· · · ··food-related issues there.

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·1·· ·A· ··Yes.
·2·· ·Q· ··Just tell me what you know about -- let's start with
·3·· · · ··the trays.··Tell me about the trays.
·4·· ·A· ··The trays are this funky color pink --
·5·· · · ··pinkish-tannish color.
·6·· ·Q· ··Okay.
·7·· ·A· ··I guess they used to be red at one time, but they've
·8·· · · ··been washed so much that they have lost the color,
·9·· · · ··and there's, like, cracks and crevices with mold in
10·· · · ··them.
11·· ·Q· ··How could you tell that it's mold?
12·· ·A· ··It's green.
13·· ·Q· ··Okay.··So it's kind of green in color.
14·· · · · · ··Does it have an odor?
15·· ·A· ··I don't know.··I didn't smell it.
16·· ·Q· ··Okay.
17·· ·A· ··And they put the food directly on this thing.
18·· ·Q· ··Mm-hmm.
19·· ·A· ··It's got little cutouts to where certain things go,
20·· · · ··so I lived off of fruit and milk the whole time I was
21·· · · ··here.
22·· ·Q· ··And was this fruit and milk that was provided as part
23·· · · ··of the meal?
24·· ·A· ··Yes.
25·· ·Q· ··What about commissary, did you ever buy commissary?

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·1·· ·A· ··No.
·2·· ·Q· ··Did Ms. Jackson ever share her commissary with you?
·3·· ·A· ··Yes.
·4·· ·Q· ··And that was kind of during that one night and a
·5·· · · ··little longer you shared the cell together, correct?
·6·· ·A· ··Yes.
·7·· ·Q· ··So back to the trays, do you know if they're using
·8·· · · ··the same trays today?
·9·· ·A· ··I have no idea, and I would hope not.
10·· ·Q· ··Do you know if they -- do you know if there's any
11·· · · ··official County policy regarding the trays?
12·· ·A· ··I believe there should be, but I don't know, sir.
13·· ·Q· ··Do you know if they're using the same dish washing
14·· · · ··machine today as they were using back in 2018?
15·· ·A· ··In my heart, I really believe they are, because I
16·· · · ··believe they're expensive to replace.
17·· ·Q· ··Okay.
18·· ·A· ··But I'm not sure.
19·· ·Q· ··Do you know if there's any kind of state or federal
20·· · · ··law concerning the -- I guess the trays or the mold
21·· · · ··on the trays?
22·· ·A· ··I'm sure there should be, but I don't know for sure.
23·· ·Q· ··All right.··So let's talk about spoiled food.
24·· · · · · ··Tell me what that's about.
25·· ·A· ··Have you ever seen a green hotdog?

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·1·· ·Q· ··I perhaps have seen a green hotdog.
·2·· ·A· ··I was served a green hotdog.
·3·· ·Q· ··All right.
·4·· ·A· ··I've never seen a green hotdog before.··The ladies
·5·· · · ··seemed to be excited.··People were fighting over my
·6·· · · ··tray.··Every tray that I got, people were fighting
·7·· · · ··over.··But then I have to realize that these women
·8·· · · ··don't have anything else to eat, so I gave away my
·9·· · · ··tray every meal except for the milk and the fruit.
10·· ·Q· ··Okay.
11·· ·A· ··But green hotdogs, oatmeal with meal bugs.
12·· ·Q· ··So let's talk about the oatmeal and the meal bugs.
13·· ·A· ··Yes.
14·· ·Q· ··Tell me about that.
15·· ·A· ··When you have a -- by you being a guy, you might not
16·· · · ··know this, but if you have, like, rice or flower or
17·· · · ··cornmeal, anything like that, and it's hot, it
18·· · · ··creates these live bugs.
19·· ·Q· ··All right.
20·· ·A· ··And when you cook it, you cook the product along with
21·· · · ··the bugs, because the bugs are all through it.
22·· ·Q· ··Okay.
23·· ·A· ··So that's what they served me was oatmeal with meal
24·· · · ··bugs in it.
25·· ·Q· ··And so if they cooked it, were they dead by the time

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·1·· · · ··it got to you, or were they crawling around in the --
·2·· ·A· ··Yes.··They was dead bugs.··They was dead meal bugs.
·3·· ·Q· ··All right.··So I guess we've got the green hotdog.··I
·4·· · · ··guess we'd call that spoiled food, right?
·5·· ·A· ··Yes.
·6·· ·Q· ··We've got the oatmeal with the meal bugs in it that I
·7·· · · ··guess we'll call that food with dead bugs, right?
·8·· ·A· ··Yes.··Then you got your live bugs in your hotdog
·9·· · · ··buns.
10·· ·Q· ··Hotdog bugs?
11·· ·A· ··Hotdog buns.
12·· ·Q· ··Okay.··You said live bugs in the hotdog buns?
13·· ·A· ··Yes.
14·· ·Q· ··Okay.··What kind of bugs were those?
15·· ·A· ··They looked hike roaches to me.
16·· ·Q· ··Okay.
17·· ·A· ··They would have on gloves and go in this bag, which
18·· · · ··was like a garbage bag, and I saw the bugs just
19·· · · ··crawling around.··I was like, ah.
20·· ·Q· ··So this was like a big bag of hotdog buns?
21·· ·A· ··Yes.
22·· ·Q· ··Okay.··Any other kind of specific food issues that
23·· · · ··you could remember?
24·· ·A· ··Really after those three things, I just didn't even
25·· · · ··look at the food anymore.··Whenever the tray came, I

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·1·· · · ··took the milk and the fruit, and whoever wanted it
·2·· · · ··could have it.
·3·· ·Q· ··Okay.
·4·· ·A· ··I lost 18 pounds while I was here.
·5·· ·Q· ··Did you ever become ill as a result of eating the
·6·· · · ··food?
·7·· ·A· ··I would not eat it.··I refused.
·8·· ·Q· ··So the answer to that is no then?
·9·· ·A· ··No.
10·· ·Q· ··Okay.··Have you ever spoken to a nutritionist or a
11·· · · ··doctor concerning the food in the jail?
12·· ·A· ··Yes.
13·· ·Q· ··And who was that?
14·· ·A· ··Cleveland Clinic nutritionist.
15·· ·Q· ··And when was that?
16·· ·A· ··I would say January of '20.
17·· ·Q· ··All right.··And what did they tell you?
18·· ·A· ··Just started eating healthy again.
19·· · · · · ··But I've never been able to pick the weight back
20·· · · ··up since then.··It seems like since then, I just
21·· · · ··constantly lose weight.
22·· ·Q· ··And is that a problem for you?
23·· ·A· ··Yeah.
24·· ·Q· ··How so?
25·· ·A· ··I've never been this small in my life.

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·1·· ·Q· ··All right.
·2·· ·A· ··I mean, I guess I feel a little better, but it's just
·3·· · · ··different.
·4·· ·Q· ··All right.··I know this is an incredibly impolite
·5·· · · ··question, but I'm going to ask it anyway.
·6·· · · · · ··About how much do you weigh today?
·7·· ·A· ··I weigh 193 pounds.
·8·· ·Q· ··Okay.··Thanks.
·9·· · · · · ··Do you know if the food menus in the jail were
10·· · · ··reviewed by any nutritionists or doctors in 2018?
11·· ·A· ··I do not know.
12·· ·Q· ··Do you know if they are today?
13·· ·A· ··I do not know.
14·· ·Q· ··Do you know if there's been any changes to the way
15·· · · ··that food is prepared or served in the jail?
16·· ·A· ··I do not know.
17·· ·Q· ··Do you know if it comes from the same kitchen?
18·· ·A· ··I do not know.
19·· ·Q· ··All right.··Changes to the menu?
20·· ·A· ··I don't know.
21·· ·Q· ··Have you ever heard of a company called Trinity
22·· · · ··Services?
23·· ·A· ··No, I haven't.
24·· ·Q· ··So you don't know what connection, if any, they have
25·· · · ··to the jail?

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·1·· ·A· ··No, I don't.
·2·· ·Q· ··Do you know if they made any changes concerning how
·3·· · · ··food was served or handled in the jail as a result of
·4·· · · ··COVID?
·5·· ·A· ··I do not know.
·6·· ·Q· ··All right.
·7·· ·A· ··But I do -- a friend of mine used to do the food, and
·8·· · · ··I had gotten in a little trouble a long, long time
·9·· · · ··ago, and I think I was here for a day, and the food
10·· · · ··was awesome.··But that was Tom Paige Catering
11·· · · ··Services, so I don't know who does the food now.
12·· ·Q· ··Okay.··What time period are we talking about?
13·· ·A· ··That was, like, '92.
14·· ·Q· ··So quite a while ago?
15·· ·A· ··Yes.
16·· ·Q· ··Ever file a grievance, sent a kite concerning the
17·· · · ··food?
18·· ·A· ··No.
19·· ·Q· ··All right.··Do you know if there's any specific
20·· · · ··County policy about food or nutrition?
21·· ·A· ··I'm sure there should be, but I don't know.
22·· ·Q· ··Okay.··Do you know if there's any specific state or
23·· · · ··federal law concerning food or nutrition?
24·· ·A· ··I do not know.
25·· ·Q· ··Okay.··So cloudy water, what does that mean?

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·1·· ·A· ··It means the water has an orangy-like -- sort of like
·2·· · · ··this, just a little lighter.
·3·· ·Q· ··Okay.··So you're holding up a bottle of Arizona --
·4·· ·A· ··Tea, yes.
·5·· ·Q· ··All right.··Is there a problem with the taste?
·6·· ·A· ··I have no idea.
·7·· ·Q· ··So did you just not drink it?
·8·· ·A· ··I refused.
·9·· ·Q· ··All right.··Did it have, like, a particular smell?
10·· ·A· ··It smelled on my body when I took that one shower,
11·· · · ··and I never got back in there.
12·· ·Q· ··Okay.··Like, how did it smell?··Like sulfury,
13·· · · ··metally?··Any kind of description you can give me?
14·· ·A· ··It smelled like urine.
15·· ·Q· ··Okay.
16·· ·A· ··Which gives it like a fishy smell.
17·· ·Q· ··Okay.··Kind of a fishy smell.
18·· · · · · ··Well, did you ever, like, become ill as a result
19·· · · ··of -- I guess you didn't drink it, so it would be
20·· · · ··like showering, or that kind of thing?
21·· · · · · ··That was a terrible question.··Let me try that
22·· · · ··again.
23·· · · · · ··You said you didn't drink the water, correct?
24·· ·A· ··No.··I did not drink the water.
25·· ·Q· ··And you took one shower, correct?

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·1·· ·A· ··Yes, I did.
·2·· ·Q· ··All right.··Did that make you ill in any way?
·3·· ·A· ··I believe that some things have been going on with my
·4·· · · ··body since --
·5·· ·Q· ··Okay.
·6·· ·A· ··-- that time.··Because like I said, I've lost, like,
·7·· · · ··100 pounds since then.
·8·· ·Q· ··Okay.··So is that related to the water, the food, or
·9·· · · ··you don't know?
10·· ·A· ··I have no idea.··I have no idea.
11·· ·Q· ··All right.··Have you talked to any doctor that said
12·· · · ··that this weight loss is related to something that
13·· · · ··happened in the jail, or is it just the time?
14·· ·A· ··I have been told that it might be psychological.
15·· ·Q· ··And who told you that?
16·· ·A· ··My psychiatrist.
17·· ·Q· ··And that's Amanda Prince or Price?
18·· ·A· ··Price.
19·· ·Q· ··And I'm sure I asked you the first time, but she is
20·· · · ··at Behavioral Health, correct?
21·· ·A· ··She is at Signature Health.
22·· ·Q· ··Signature Health.··And I'm sure that's about the
23·· · · ··fourth time you've told me that.
24·· ·A· ··That's okay.
25·· ·Q· ··I mean, have you personally ever tested the water for

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·1·· · · ··contaminates?
·2·· ·A· ··No.
·3·· ·Q· ··Do you know if anybody has?
·4·· ·A· ··No, I don't.
·5·· ·Q· ··All right.··Do you know if the water has the same
·6·· · · ··problems today as it did in late 2018?
·7·· ·A· ··I have no idea.
·8·· ·Q· ··Okay.··Do you know if the County has any particular
·9·· · · ··official policy concerning water quality?
10·· ·A· ··Not that I know of personally.
11·· ·Q· ··Okay.··What about any state or federal law concerning
12·· · · ··water quality?
13·· ·A· ··No, I don't.
14·· · · · · · · · · · ·MR. STEWART:··I don't think I have
15·· · · · · · · ··that much left, but let's take another
16·· · · · · · · ··five-minute break, and we'll get going
17·· · · · · · · ··again.
18·· · · · · · · · · · · · ·- - - -
19·· · · · · · ··(Thereupon, a recess was had.)
20·· · · · · · · · · · · · ·- - - -
21·· ·Q· ··Ms. Davis, we covered this list of nine conditions
22·· · · ··that you have listed in Paragraph 23 of your
23·· · · ··Complaint, and we've discussed some weight loss.
24·· · · · · ··Are there any other injuries that you suffered as
25·· · · ··a result of any one of these nine conditions?

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·1·· ·A· ··Emotional injury.
·2·· ·Q· ··Okay.
·3·· ·A· ··Emotional injury is that for some reason now, I have
·4·· · · ··a fear of police.
·5·· ·Q· ··So the fear of police?
·6·· ·A· ··Yes.
·7·· ·Q· ··And you think that's -- are you contending that
·8·· · · ··that's related to these nine conditions here?
·9·· ·A· ··I do believe so.
10·· ·Q· ··And other than Amanda -- is it Price?
11·· ·A· ··Price.
12·· ·Q· ··Do you treat with anybody else in terms of seeing a
13·· · · ··professional, or that kind of thing, concerning the
14·· · · ··emotional injuries that you discussed?
15·· ·A· ··No.
16·· ·Q· ··All right.··Any other physical injuries that we've
17·· · · ··not covered?
18·· ·A· ··I still have issues with my tongue.
19·· ·Q· ··Okay.··Tell me about those.
20·· ·A· ··I don't have the taste -- my taste buds are kind of,
21·· · · ··like, missing on the side that I bit it clean
22·· · · ··through, so I usually have to switch my food over to
23·· · · ··the right side.··I know that sounds weird, but
24·· · · ··something happened with my taste bud when I bit my
25·· · · ··tongue through.

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·1·· ·Q· ··Okay.··So you're just not tasting food the way you
·2·· · · ··used to?
·3·· ·A· ··Not on that side, no.
·4·· ·Q· ··All right.··Ever raise this issue with a doctor,
·5·· · · ··dentist?
·6·· ·A· ··Yes.
·7·· ·Q· ··Who?
·8·· ·A· ··Cleveland Clinic.
·9·· ·Q· ··Are we talking Main Campus, South Pointe?
10·· ·A· ··Ear, nose, and throat.
11·· ·Q· ··And what, if anything, did they tell you about the
12·· · · ··taste issue?
13·· ·A· ··Sometimes that the penetration can affect the taste
14·· · · ··bud.
15·· ·Q· ··Okay.··And this is something that somebody at The
16·· · · ··Clinic told you?
17·· ·A· ··Yes.
18·· ·Q· ··Any other physical injuries?
19·· ·A· ··No.··My arm has healed.
20·· ·Q· ··Okay.··And that has to do with, I guess, when
21·· · · ··somebody told you you were trying to bite the
22·· · · ··handcuffs off?
23·· ·A· ··Yes.··I bit my wrist, yes.
24·· ·Q· ··Anything else?
25·· ·A· ··No.

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·1·· ·Q· ··All right.··In your Complaint, if we turn to
·2·· · · ··Paragraph 27 and 28 -- this is Exhibit 1.
·3·· ·A· ··Mm-hmm.
·4·· ·Q· ··I guess we're on Exhibit 7.··I'm wrong.
·5·· ·A· ··Okay.
·6·· ·Q· ··There's some discussion about a U.S. Marshals'
·7·· · · ··report.
·8·· · · · · ··Do you see that there?
·9·· ·A· ··I see the discussion, yes.
10·· ·Q· ··Okay.··Do you know what that's referring to?
11·· ·A· ··It looks like it was a court case from --
12·· ·Q· ··Yeah.··So Number 27 says, The U.S. Marshals' report
13·· · · ··on the Cuyahoga County Corrections Center is
14·· · · ··attached.
15·· ·A· ··Yeah.
16·· ·Q· ··The U.S. Marshals' report states that the corrections
17·· · · ··center is one of the worst jails in the country,
18·· · · ··correct?
19·· ·A· ··Oh, my goodness.··Oh, wow.
20·· ·Q· ··Have you ever personally read or reviewed that
21·· · · ··Marshals' report?
22·· ·A· ··No, I haven't.
23·· ·Q· ··Do you know when it was generated, when it came out?
24·· ·A· ··I guess I could read through and tell you if you'd
25·· · · ··like.

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·1·· ·Q· ··But other than what's in the Complaint, do you have
·2·· · · ··any other kind of, like, personal knowledge of that?
·3·· ·A· ··Of the U.S. Marshals' report?
·4·· ·Q· ··Well, when did it come out?
·5·· ·A· ··It came out after I had been housed here maybe.
·6·· ·Q· ··All right.··If you don't know one way or the other,
·7·· · · ··that's fine.
·8·· ·A· ··Okay.
·9·· ·Q· ··So you just don't know one way or the other?
10·· ·A· ··No, I don't.
11·· ·Q· ··Do you know if the U.S. Marshals did any other
12·· · · ··inspections of the jail either before or after this
13·· · · ··report?
14·· ·A· ··No.··I'm not sure.
15·· ·Q· ··So you don't know whether they did it, and if they
16·· · · ··did, what they found?
17·· ·A· ··No, I don't.
18·· ·Q· ··Do you know if anybody else has done any inspections
19·· · · ··of the jail either before or after the U.S. Marshals'
20·· · · ··report?
21·· ·A· ··I don't know, sir.
22·· ·Q· ··All right.··Do you think that there was any point
23·· · · ··that you were in the jail that you were -- you had a
24·· · · ··bed in, like, the dispensary itself?
25·· ·A· ··No.

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·1·· ·Q· ··So you just don't remember?
·2·· ·A· ··No.
·3·· · · · · · · · · · ·MR. GROSS:··Objection.
·4·· ·A· ··I remember.
·5·· ·Q· ··So if the medical records say you did, they would be
·6·· · · ··wrong?
·7·· ·A· ··Yes.
·8·· ·Q· ··Do you know anybody -- other than yourself, do you
·9·· · · ··know anybody else who's had problems concerning
10·· · · ··prescription medication in the jail -- strike that.
11·· · · · · ··Anybody who's been prescribed the wrong
12·· · · ··medication?
13·· ·A· ··Prescribed the wrong medication?
14·· ·Q· ··Yes.
15·· ·A· ··I know that Ms. Jackson had to buy Tylenol off the
16·· · · ··commissary list, and from my understanding, she had
17·· · · ··prescriptions for -- she had been shot three times, I
18·· · · ··do believe.
19·· ·Q· ··Okay.··When had she been shot?
20·· ·A· ··She had been shot before she arrived here.
21·· ·Q· ··Okay.
22·· ·A· ··And I watched her fall twice, and she bought Tylenol
23·· · · ··off of the commissary list, which was weird to me.
24·· ·Q· ··Okay.··So you met Ms. Jackson at some point in
25·· · · ··December of 2018, correct?

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·1·· ·A· ··That's correct.
·2·· ·Q· ··Do you know when she had been shot before that?
·3·· ·A· ··No, I don't.
·4·· ·Q· ··Okay.··So we've got yourself.··We've got Ms. Jackson.
·5·· ·A· ··Mm-hmm.
·6·· ·Q· ··Anybody else that you know of that had issues with
·7·· · · ··the medication they were dispensed?
·8·· ·A· ··No.
·9·· ·Q· ··All right.··Do you know if the jail or the County has
10·· · · ··any specific policy concerning -- well, let's do
11·· · · ··these one at a time -- concerning the availability of
12·· · · ··Xanax in the jail?
13·· ·A· ··Can you ask me that again?
14·· ·Q· ··Sure.
15·· · · · · ··Any specific policy by the County or the sheriff
16·· · · ··or the jail concerning when and under what
17·· · · ··circumstances inmates would be dispensed Xanax?
18·· ·A· ··I have no idea, sir.
19·· ·Q· ··Do you know if there's a blanket prohibition against
20·· · · ··dispensing Xanax to inmates?
21·· ·A· ··Sir, I really don't know.··The only thing that I was
22·· · · ··told was that the County did not have Xanax.
23·· ·Q· ··And that's something somebody told you while you were
24·· · · ··in the jail?
25·· ·A· ··Yes.

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·1·· ·Q· ··Can you tell me anything about the training that the
·2·· · · ··doctors, nurses in the jail underwent?
·3·· ·A· ··They have no training --
·4·· ·Q· ··Okay.
·5·· ·A· ··-- in my opinion.
·6·· ·Q· ··And what are you basing that opinion on?
·7·· ·A· ··I'm basing that on what I witnessed.
·8·· ·Q· ··Okay.··So it's what you personally saw while you were
·9·· · · ··there?
10·· ·A· ··Yes.
11·· ·Q· ··So you don't know whether or not any particular nurse
12·· · · ··or doctor -- well, doctor completed medical school?
13·· ·A· ··No.··I wouldn't know that.
14·· ·Q· ··And you wouldn't know whether a particular nurse
15·· · · ··completed nursing school, correct?
16·· ·A· ··No, sir, I would not.
17·· ·Q· ··And you wouldn't know whether either the doctors or
18·· · · ··nurses underwent any particular training concerning
19·· · · ··working in a jail?
20·· ·A· ··That is correct.··I would not.
21·· ·Q· ··Okay.··Can you tell me anything about problems with
22·· · · ··training of medical staff in the jail?
23·· ·A· ··Yes.
24·· ·Q· ··All right.
25·· ·A· ··They have no compassion.

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·1·· ·Q· ··Okay.
·2·· ·A· ··And I thought that was one of the first things that
·3·· · · ··you learned in medical training is to have compassion
·4·· · · ··for your patients.
·5·· ·Q· ··All right.··Anything else?
·6·· ·A· ··Unprofessional, no professionalism.
·7·· ·Q· ··And that's sort of related to the compassion or --
·8·· ·A· ··No.··No.··That was a totally separate thing.
·9·· · · ··Unprofessional cursing, I call it being ghetto.
10·· ·Q· ··All right.
11·· ·A· ··Yes.
12·· ·Q· ··Anything else?
13·· ·A· ··Just overcrowding.··It was -- they would put us in
14·· · · ··this bullpen with, like, benches on both sides, and
15·· · · ··it would just be --
16·· ·Q· ··Is that related to the training the medical people
17·· · · ··underwent?
18·· ·A· ··I just don't think they had the room.··I don't think
19·· · · ··it had anything to do with training.
20·· ·Q· ··So you think it's a capacity issue?
21·· ·A· ··Very much so.
22·· ·Q· ··Do you know if the jail has the same number of
23·· · · ··inmates today as it did when you were there?
24·· ·A· ··I'm sure they have more.
25·· ·Q· ··Okay.··Do you know if they did anything to reduce

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·1·· · · ··their population as a result of COVID?
·2·· ·A· ··I heard that they released some nonviolent offenders
·3·· · · ··during 2020.
·4·· ·Q· ··All right.··Anything else?
·5·· ·A· ··That's all I know.
·6·· · · · · · · · · · ·MR. STEWART:··All right.··I think
·7·· · · · · · · ··that's all I have for you today, Ms.
·8·· · · · · · · ··Davis.
·9·· · · · · · · · · · ·Thanks for coming in and
10·· · · · · · · ··answering my questions.
11·· · · · · · · · · · ·THE WITNESS:··Thank you for having
12·· · · · · · · ··me, Mr. Stewart.
13·· · · · · · · · · · ·MR. GROSS:··Thank you.
14·· · · · · · · · · · ·We'd like to read the
15·· · · · · · · ··transcript, please.
16·· · · · · · · · · · · · ·- - - -
17·· · · · · · · · ·(Deposition concluded.)
18·· · · · · · · · · · · · ·- - - -
19··
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·1··State of Ohio,· · · · · ·)
 · · · · · · · · · · · · · ··)SS:· · ·CERTIFICATE
·2··County of Cuyahoga,· · ··)
 · ·
·3·· · · · · ·I, Mary C. Peck, a Notary Public within and for
 · ·the
   ·     State aforesaid, duly commissioned and qualified, do
·4··hereby certify that the above-named PHYLLIS DAVIS was by me,
 · ·before
   ·        the giving of her deposition, first duly sworn to
·5··testify the truth, the whole truth, and nothing but the
 · ·truth;
   ·
·6··
 · · · · · · ·That the deposition as above set forth was reduced
·7··to writing by me by means of stenotypy, and was later
 · ·transcribed
   ·             upon a computer by me;
·8··
 · · · · · · ·That the said deposition was taken in all respects
·9··pursuant to the stipulations of counsel herein contained;
 · ·that
   ·      the foregoing is the deposition given at said time and
10··place by said PHYLLIS DAVIS;
 · ·
11·· · · · · ·That I am not a relative or attorney of either
 · ·party
   ·       or otherwise interested in the event of this action.
12··
 · · · · · · ·That I am not nor is the court reporting firm with
13··which I am affiliated under a contract as defined by Civil
 · ·Rule
   ·      28(D).
14··
 · · · · · · ·IN WITNESS WHEREOF, I hereunto set my hand and
15··seal of office, at Cleveland, Ohio this 16th day of May,
 · ·A.D.
   ·      2022.
16··
 · ·
17··
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18·· · · · · ··__________________________
 · ·
19·· · · · · ··Mary C. Peck, Notary Public
 · ·
20··
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21·· · · · · ··My commission expires December 30, 2026
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 · · · · · · · ·ET AL.
·2··
 · ·DEPOSITION
   ·           OF:··PHYLLIS DAVIS
·3··
 · ·DATE
   ·     TAKEN:··4/19/22
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·5·· · · · · · · · ··WITNESS SIGNATURE
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·7··I have read the forgoing transcript.··Any corrections that
 · ·
·8··feel necessary will be made on a separate sheet and attached
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·9··to the transcript.
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11·· · · · · · · · · · · · · ·____________________________
 · ·
12·· · · · · · · · · · · · · · · ··TABATHA JACKSON
 · ·
13··Subscribed and sworn to me this _______day of ________ 2022.
 · ·
14··
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15·· · · · · · · · · · · · · ·_____________________________
 · ·
16·· · · · · · · · · · · · · ·My Commission Expires
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 · · · · · · · ·OHIO, ET AL.
·2··
 · ·DEPOSITION
   ·           OF:··PHYLLIS DAVIS
·3··
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   ·     TAKEN:··4/19/22
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